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                   Exhibit 18A
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                            INTRODUCTION AND OVERVIEW

       BP submits this in camera Motion to support its request that the Court exercise its

supervisory power under Section 4.3.4 of the Economic and Property Damages Settlement

Agreement (“Settlement Agreement”) to correct a serious interpretive error by the Court-

Supervised Settlement Program (“Settlement Program”) that defeats the core purpose of the

Agreement — which is to compensate only claimants who suffered actual economic losses

because of the Deepwater Horizon spill. See, e.g., Settlement Agreement ¶¶ 1.3.1.2, 38.57 (Rec.

Doc. 6430-1).    As BP explains below, the Settlement Program’s implementation of the

Settlement Agreement’s Business Economic Loss (“BEL”) Framework, as memorialized in the

January 15, 2013 decision of the Claims Administrator (and issued at the request of Class

Counsel), misreads and rewrites the plain text of the Settlement Agreement, ignores its goals,

and violates universally accepted principles of accounting and economics.

       The January 15 decision is currently stayed based on the February 6, 2013 in camera

decision of this Court.    But without permanent relief against the Claims Administrator’s

decision, BP will be exposed to hundreds of millions of dollars of payouts that it never agreed to

fund. Indeed, the aggregate total of such payouts could climb even higher. The claims involved

are being made for artificially inflated or non-existent “losses” that arise solely because of a

misapplication of the BEL Framework that abides and indeed effectively encourages the use of

incorrect and/or erroneous data — specifically, these unauthorized awards are the result of

uncorrected accounting errors that fail to record accurately monthly revenues and match them to

corresponding variable expenses. Such artificial claims cannot, even loosely, be termed a type of

“legal liability” — because the resulting payouts will go to those who suffered no losses

whatsoever from the spill or any form of loss. Failure to make the remedy blocking the payment

of such claims by the Settlement Program permanent would thus rupture the basic fairness of the
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Settlement by bestowing economic windfalls on a collection of claimants — predominantly,

though not exclusively, in the agriculture, construction, and professional services fields. Equally

troublesome, the favorable reputations of the Settlement Program and of the entire administration

of claims payments in MDL 2179 will be seriously tarnished unless the Court puts a halt to Class

Counsel’s reading of the Settlement Agreement as endorsed by the Settlement Program.

Settlements in the tort system are designed to provide recompense, not to hand out windfalls to

those who have no losses at all, or whose losses are a fraction of the amounts mistakenly being

paid.

        The festering problem described in the balance of this Motion not only threatens the core

integrity of the Settlement, but also represents a significant and growing financial problem.

Based on BP’s analysis to date, between 82% and 98% of payments to claimants in the

agriculture, construction, and professional services industries appear to be infected by the

Settlement Program’s improper methodology. And because the Claims Administrator’s decision

grossly inflates the compensation available to claimants in those fields, such claims have

proliferated, even as the number of other types of claim has held steady or fallen. See Sider

Decl. (Ex. 11) ¶¶ 17-20. BP has even been forced to disclose the Claims Administrator’s

decision in its corporate filings and to provision an additional $400 million for claims already

decided, as well as to disclose an additional ongoing contingent liability.          This serious

misinterpretation of the Settlement Agreement must be called to a permanent halt by this Court.

                                        BACKGROUND

        The parties began from the shared premise that the Settlement Agreement was designed

to compensate business claimants only for their “loss of profits, income and/or earnings”

sustained “as a result” of the Deepwater Horizon spill.         See, e.g., Settlement Agreement

¶¶ 1.3.1.2, 38.57 (emphasis added). The disagreement that has come before the Court stems


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from a memorandum submitted by Class Counsel to the Claims Administrator on December 16,

2012, which asked the Claims Administrator to rule that “[w]hen a business keeps its books on a

cash basis, revenue is earned during the month of receipt, irrespective of when the contract was

entered or services were performed,” and that the “‘corresponding variable expenses’ associated

with monthly revenue are the expenses that are expended or incurred during the Benchmark and

Compensation months in question.” Dec. 16 Class Counsel Memo (Ex. A) at 1 (emphasis

added).

          Notwithstanding BP’s demonstrations that Class Counsel’s position would (1) contravene

the terms of the Settlement Agreement, (2) violate universally accepted principles of economics

and accounting, and (3) lead to awards untethered to any actual losses a claimant could have

experienced, on January 15, 2013, the Claims Administrator surprisingly announced that he felt

bound to agree with Class Counsel and reject BP’s position. See Cover E-Mail to Jan. 15 Policy

Decision (Ex. B) (“Though the Claims Administrator acknowledges that the type approach

proposed by BP is a reasonable one, he does not believe it within his authority to implement such

an approach absent agreement of the parties or express direction from the Court.”).

          BP exercised its rights under the Settlement Agreement and asked the Court to review the

Claims Administrator’s determination. And on February 6, 2013, the Court entered a stay of the

Claims Administrator’s decision and directed the parties to enter mediation with the assistance of

Daniel Balhoff, Esq. In compliance with the Court’s order, the parties engaged in a day-long

mediation session on February 14, 2013. The mediation proved unsuccessful. Because of both

the critical importance of this issue to the fairness of the Settlement and the additional

unbargained-for liability that the interpretation of Class Counsel and the Settlement Program

imposes upon BP, BP has no choice but to file this Motion.




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        Accordingly, BP respectfully requests that the Court direct the Claims Administrator to

issue a new policy statement that rescinds his January 15, 2013 decision and orders the Claims

Administrator to announce that business economic loss claims will be assessed based on proper

economic and accounting matching of revenues and expenses, in accord with the language of the

Settlement Agreement. And to implement such a decision, BP also requests that the Court issue

a directive to the Claims Administrator to adopt BP’s suggested implementation approach and/or

to consult with the parties to develop and put in place the appropriate implementation steps that

recognize revenue when earned, accurately assess corresponding variable expenses, and evaluate

the differences in variable profits using comparable periods — all as required by the Settlement

Agreement’s plain terms.

                                     SUMMARY OF ARGUMENT

        As explained in the argument sections below, the Court should adopt BP’s position for

four principal reasons:

        1. BP’s interpretation of the Settlement Agreement is compelled by its clear text. In

referring to “revenue” and “expenses,” the Settlement Agreement uses terms with widely

understood meaning in the accounting field. As the experts establish based on their respective

disciplines, “revenue” is conceptually distinct from receipt of cash, just as “expenses” are

conceptually distinct from expenditures of cash. See, e.g., Weil Decl.1 (Ex. 12) at 4:138-145; id.

at 4:150-151; Finch Decl. (Ex. 3) ¶ 10; Dietrich Decl. (Ex. 2) ¶¶ 16-17. Thus, these standard

accounting terms require the Claims Administrator to assess when assets are earned or liabilities

are incurred, and not simply when cash moves into or out of a business claimant’s coffers. By

1
  Roman Weil is the V. Duane Rath Professor Emeritus of Accounting at the Chicago Booth School of Business of
the University of Chicago. Weil Decl. (Ex. 12) at 1:12-13. He has co-edited four professional reference books,
authored over a dozen textbooks, and published over 80 articles in academic and professional journals. See id. at
2:18-24.



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referring to “corresponding” variable expenses, moreover, the Settlement Agreement makes clear

that it means to incorporate the matching principle that accountants agree is necessary to reach

an accurate, real-world assessment of a business’s financial performance. See, e.g., Hall Decl.

(Ex. 5) ¶ 14; Oustalniol Decl. (Ex. 7) ¶ 14. Finally, by providing that the Compensation Period

is to be compared to the “comparable months” of the Benchmark Period, the Agreement makes

clear that the Claims Administrator must put side by side months in which economically

comparable activity occurred, not simply use the same months on the calendar. See Finch Decl.

(Ex. 3) ¶ 31; Dietrich Decl. (Ex. 2) ¶ 31.

       2. Only BP’s interpretation achieves the goals of the Settlement Agreement. The

Settlement Agreement was carefully designed to make class members whole for their actual

economic losses. See, e.g., Settlement Agreement ¶¶ 1.3.1.2, 38.57; see also Polinsky Decl. (Ex.

9) ¶¶ 13-13. Yet under the interpretation of the Settlement Agreement successfully advanced by

Class Counsel, many claimants — particularly, though not exclusively, in the agriculture,

professional services, and construction industries — will receive immense windfalls

disconnected from their losses, if any. See Finch Decl. (Ex. 3) ¶ 30; Oustalniol Decl. (Ex. 7) ¶

39; Hall Supp. Decl. (Ex. 6) ¶ 8; Sider Decl. (Ex. 11) ¶ 33. These absurdities are no small

matter, totaling already hundreds of millions of dollars. And because claimants can select the

Benchmark and Compensation periods most advantageous to them, the ensuing artificial results

uniquely and overwhelmingly prejudice BP. See Finch Supp. Decl. (Ex. 4) ¶ 9; Sider Decl. (Ex.

11) ¶ 23; Weil Decl. (Ex. 12) at 8:297-303. The Claims Administrator has himself previously

recognized the possibility for absurd windfalls when revenues and expenses are not properly

matched, and in other contexts has taken steps to avoid such windfalls, but he has declined to do

the same here. By allowing awards to large collections of claimants to be unnaturally inflated,




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the Claims Administrator creates a disconnect between loss and remedy that calls the very

fairness of the Settlement into question. There is no rational or legal basis for a set of outcomes

where identical or similarly situated businesses could obtain wildly divergent offers from the

Settlement Program based solely on the way in which they chose to keep their accounting books.

       3. The correct interpretation of the Settlement is easily implementable by the Claims

Administrator’s staff of professional accountants. See Alexander Decl. (Ex. 1) ¶ 32; Hall Decl.

(Ex. 5) ¶ 29; Finch Decl. (Ex. 3) ¶¶ 5(e), 33; Finch Supp. Decl. (Ex. 4) ¶ 16; Oustalniol Decl.

(Ex. 7) ¶ 6; Sider Decl. (Ex. 11) ¶¶ 29-47; Weil Decl. (Ex. 12) at 9:341-11:389; Dietrich Decl.

(Ex. 2) ¶ 34. Indeed, in other contexts, the Claims Administrator has not hesitated to implement

the Settlement Agreement in a manner that requires his accounting staff to use their professional

accounting skills to assess claimants’ financial submissions.

       4. Class Counsel’s rebuttal points lack merit. Class Counsel’s arguments as to why

non-matching of revenues and expenses should be permitted wither upon scrutiny. BP is not

seeking to rewrite the Settlement Agreement; it is instead seeking to enforce it and ensure that

the Settlement Agreement’s carefully negotiated tests are applied according to their plain text

using meaningful data, lest results untethered from economic reality be produced. Unlike Class

Counsel, BP does not contend that the Claims Administrator should simply define or redefine

undefined terms at will; rather, BP contends that the Settlement Agreement’s terms should be

interpreted using their well-established accounting and economic definitions. BP’s positions are

also entirely consistent with the class notice, which informed class members that they could

obtain compensation only if they had incurred an actual loss. In fact, it is Class Counsel who

seek an outcome that cannot be squared with the notice provided to the class, as nowhere in the

notice did Class Counsel inform the class that identically situated claimants will be treated




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differently simply because of the manner in which they kept their financial books and records.

                          BP’s DETAILED POSITION AND ARGUMENT

I.       Class Counsel’s Interpretation Of The Business Economic Loss Framework
         Contradicts The Settlement Agreement’s Unambiguous Text.

         BP’s position regarding how the Settlement Agreement’s BEL Framework must be

implemented is the only interpretation of the text that faithfully follows its plain meaning and

properly reflects the intent of the parties to provide compensation for actual losses incurred in the

post-spill period of 2010. The declared purpose of the BEL Framework is to compensate eligible

claimants by “compar[ing] the actual profit of a business during a defined post-spill period in

2010 to the profit that the claimant might have expected to earn in the comparable post-spill

period of 2010.” Settlement Agreement Ex. 4C at 1.2 The critical metric of the BEL Framework

is “Variable Profit,” which is explicitly defined as the sum of Revenue over a period, less the

Corresponding Variable Expenses incurred in connection with earning such Revenue over the

same time period. Settlement Agreement Ex. 4C at 2 (emphasis added). The BEL Framework

then compensates claimants for “reduction in profit between the 2010 Compensation Period

selected by the claimant and the comparable months of the Benchmark Period.” Id. at 1

(emphasis added).

         Thus, to reach a calculation of loss that comports with both the Settlement Agreement’s

text and its core purpose of compensating for actual economic losses caused by the spill, see

Polinsky Decl. (Ex. 9) ¶¶ 12-21, the Settlement Program must perform three calculations:

         (1)     It must determine the claimant’s Revenue during the Compensation Period and

2
  See also Settlement Agreement at 1 (“The purpose of this Agreement is to settle all and only the RELEASED
CLAIMS of the Economic Class, PLAINTIFFS, and ECONOMIC CLASS MEMBERS against all and only the
RELEASED PARTIES.”); id. Ex. 26, Section 1(q) (Individual Release) (“‘Economic Damage’ means loss of
profits, income, and/or earnings arising in the Gulf Coast Areas or Specified Gulf Waters allegedly arising out of,
due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon Incident . . . .”)
(emphasis added).



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               the Benchmark Period;

        (2)    To calculate Variable Profit in each period, the Settlement Program must
               subtract from the claimant’s Revenue its Corresponding Variable Expenses;
               and

        (3)    To determine the overall award, it must compare the Variable Profit during the
               Compensation Period to the Comparable Months of the Benchmark Period.

        These express terms of the heavily negotiated Settlement Agreement — “revenue,”

“expense,” “corresponding” and “profit” — have specific, well-recognized meanings in the

accounting, economics, and finance fields and their associated literature.         Such learning

necessarily formed an important backdrop to the negotiations among sophisticated counsel, in

which both sides were advised by accountants and other financial professionals. Class Counsel’s

interpretation errs at each of the three defined and agreed-upon steps by rewriting the

Agreement. The predictable result is to produce economically irrational awards for a large

number of BEL claimants that bear no relationship to losses — if any — incurred on account of

the spill.

        A.     “Revenue” Has Meaning; It Does Not Simply Mean Cash Received Or
               Recorded. Instead, As The Settlement Agreement Reflects, Revenue Must Be
               Attributed To The Months When It Is Earned.

        Class Counsel’s first error is their incorrect conception of “revenue.” Under widely

accepted accounting literature, revenue “measure the inflows of net assets from selling goods and

providing services (that is, assets less liabilities).” Weil. Decl. (Ex. 12) App’x D, quoting C.P.

STICKNEY & PAUL R. BROWN, FINANCIAL REPORTING AND STATEMENT ANALYSIS, A STRATEGIC

PERSPECTIVE 22 (4th ed. 1999); accord, e.g., ELEMENTS OF FIN. STATEMENTS, Fin. Accounting

Standards Bd. Concepts Statement No. 6, ¶ 78 (Fin. Accounting Standards Bd. 1985) (“Revenues

are inflows or other enhancements of assets of an entity or settlements of its liabilities (or a

combination of both) from delivering or producing goods, rendering services, or other activities



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that constitute the entity’s ongoing major or central operations.”).

        “Revenue” is universally understood by accountants, economists, and other financial

professionals to be conceptually distinct from receipt of cash. Revenue “occurs when we deliver

goods or render services and get some asset, perhaps not cash, in return” while receipts refer to

the “inflow of cash.”         Weil Decl. (Ex. 12) at 4:138-140; accord, e.g., id. at 3:121-4:123

(“Accountants ‘[d]o not confuse [revenue] with receipt of funds, which may occur before [or]

when or after revenue is recognized.’”) (quoting R.L. WEIL ET AL., FINANCIAL ACCOUNTING:

INTRODUCTION TO CONCEPTS, METHODS, AND USES 814 (14th ed. 2012)); Dietrich Decl. (Ex. 2)

¶ 16 (“Cash receipts in a period can be the collection of revenues from an earlier or later

period.”); see also M.W. MAHER ET AL., MANAGERIAL ACCOUNTING 588 (11th ed. 2012); R.L.

WEIL & M.W. MAHER, HANDBOOK OF COST MANAGEMENT 126 (2d ed. 2005).3 Indeed, Class

Counsel recognize and have admitted that the relevant question is when revenue is “earned” —

in other words, not necessarily when payment is received. See Dec. 16 Class Counsel Memo

(Ex. A) at 1. That admission is fatal to their interpretation.

        In limited cases, the conceptual error being advanced by Class Counsel — treating

“revenue” as synonymous with “cash received” — can be harmless, because some businesses

receive payment at the same time that goods are exchanged or services are rendered. See, e.g.,

Weil Decl. (Ex. 12) at 5:193-6:209. But for many BEL claimants — particularly, though not

exclusively, those in the construction, agriculture, and professional service industries — there

can often be a significant lag between when the business earns the revenue by delivering goods

or services, and when the business receives payment and records that payment on its financial

3
 Cf. Due v. Due, 342 So. 2d. 161, 165-66 (La. 1977) (holding in the divorce context that an “attorney’s interest in
pending contingent fee contracts” constitutes a marital asset and therefore requires an investigation into whether
work by the attorney spouse on contingent fee cases occurred during the marriage, even if the fees themselves were
not collected until after divorce proceedings had begun).



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statements. See Hall Decl. (Ex. 5) ¶ 4(3) (construction industry); Oustalniol Decl. (Ex. 7) ¶¶ 8-

11 (professional services industry); Finch Decl. (Ex. 3) ¶ 5(c) (agricultural industry).4 Such

businesses may receive prepayments for goods or services to be delivered later, or payment in

arrears, substantially later than the goods or services were delivered. See id. That certain

claimants elect to record on their financial statements payments when received, however, does

not change the relevant question under the Settlement Agreement — when is revenue earned by

delivering goods or rendering services? See Weil Decl. (Ex. 12) at 4:138-145.

        If “monthly revenues . . . earned over the relevant period are not properly measured, then

the resulting calculation will only reflect the timing of the recording of cash outflows and

inflows rather than the firm’s actual financial performance.” Oustalniol Decl. (Ex. 7) ¶ 25

(emphasis added); see also Weil Decl. (Ex. 12) at 6:217-221. “In order to properly calculate

variable profits as required in Step 1 of the BEL compensation formula, it is necessary that

revenues be recorded in the months when earned, not when cash is received.” Finch Decl. (Ex.

3) ¶ 10 (emphasis added).

        Yet for reasons having nothing to do with the Settlement Agreement, Class Counsel

effectively argue that the Settlement Program must unquestioningly use cash-basis accounting —

refusing to match revenues and expenses — including in situations where that methodology

produces distorted claims awards that make no economic sense. Their position seeks to override

the express and contrary terms of the Settlement Agreement — even in cases where such a

methodology is patently inadequate to perform the economic compensation tests mandated in the

Agreement and even where the outcomes are economically irrational. See Hall Supp. Decl. (Ex.


4
  Critically, the problem described is much broader than the subsets of the mismatching error reflected in payouts in
these three industries alone. See Polinsky Decl. (Ex. 9) ¶¶ 22-35; Weil Decl. (Ex. 12) at 6:229-7:252; Sider Decl.
(Ex. 11) ¶ 5.



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6) ¶ 4; Rose Decl. (Ex. 10) ¶ 6 (“Cash flow can be monitored through cash based statements but

profitability cannot be monitored through cash based statements because cash based statements

fail to recognize revenues and expenses when incurred. Cash basis financial statements are

maintained for purposes of monitoring a firm’s current cash position not for determining

profitability.”); Weil Decl. (Ex. 12) at 5:182-183 (“The BEL Framework invokes profit; profit

means revenues minus expenses, not receipts minus expenditures.”); Dietrich Decl. (Ex. 2)

¶¶ 22-25.   And assessing Variable Profit is the touchstone of the BEL Framework.              See

Settlement Agreement Ex. 4C at 1.

       In sum, Class Counsel and the Settlement Program have substituted the term “revenue”

for the term “cash receipts,” and treated those two different terms identically — even though

they are fundamentally different in both the Settlement Agreement itself, as well as in

accounting. As a result, not only has the Settlement Agreement been rewritten, the Agreement’s

Variable Profits calculation cannot be performed, and the compensation awards being produced

under the Settlement are illogical and absurd, having nothing to do with any actual losses.

       B.      Variable Profit Must Be Calculated As Revenue Reduced By
               “Corresponding” Variable Expenses Used To Generate That Revenue, Not
               Based On The Happenstance Of When Cash Payments Are Recorded.

       The requirement that “corresponding” variable expenses be subtracted from revenue in

order to generate profit also is critical if the Settlement Program is to adhere to the Agreement’s

plain text, core function, and purpose, which is to objectively assess reductions in real economic

profit caused by the Deepwater Horizon oil spill. The reduction in “profit” cannot be calculated

without accurately matching revenue to the “corresponding” variable “expenses.” Each of

those three terms has an established meaning, and each has been misinterpreted by Class Counsel

and the Settlement Program in a way that produces absurd results.




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       1. Expenses Are Actual Or Expected Outflows of Assets, Not Cash Expenditures Or

Disbursements. The need to properly match corresponding variable expenses to the revenues

that they are incurred to generate is further underscored by the correct understanding of what

“expenses” are. Under widely accepted literature, “expenses” are “outflows or other using up of

assets or incurrences of liabilities during a period from delivering or producing good[s],

rendering services, or other activities that constitute the entity’s ongoing major, or central

operations.” J.D. SPICELAND ET AL., INTERMEDIATE ACCOUNTING G-2 (7th ed. 2013). But just as

revenue must be distinguished from cash receipts, so must expenses be distinguished from

expenditures, or spent cash.    See, e.g., Weil Decl. (Ex. 12) at 4:150-152 (“Accountants

distinguish between an expense (a gone asset) with an expenditure (gone cash). That is, we can

have gone cash without having gone assets.”) (footnote omitted); Dietrich Decl. (Ex. 2) ¶ 17

(“Cash disbursements in a period can be the payment of expenses from an earlier or later

period.”); M.W. MAHER ET AL., MANAGERIAL ACCOUNTING 542 (11th ed. 2012) (“Measure

expense as the cost of the (net) assets used. Do not confuse with expenditure or disbursement,

which may occur before, when, or after the firm recognizes the related expense.”). Class

Counsel’s approach and that of the Settlement Program rewrites the BEL Framework definition

of Variable Profit to substitute into the Agreement the phrase “variable expenditures,” a concept

unknown to accounting, rather than “variable expenses.” Weil Decl. (Ex. 12) at 5:171-180.

       2. Corresponding Variable Expenses Are Expenses Incurred To Generate Revenue.

“[I]t is widely understood and accepted that . . . matching between revenue and expenses is

required in order to understand a business’s financial performance for a given accounting

period.” Hall Decl. (Ex. 5) ¶ 14; see also Oustalniol Decl. (Ex. 7) ¶ 14 (“[I]nformation needs to

be evaluated so as to synchronize the revenues earned with the corresponding expenses




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incurred.”); Weil Decl. (Ex. 12) at 5:185-187 (“Accountants say that we have not properly

measured income as revenues less expenses unless the expenses measure the assets used to

generate the revenues.”); Polinsky Decl. (Ex. 9) ¶ 7 (“If instead compensation is based on net

cash received over a period of business activity . . . then claimants might not be accurately

compensated for their economic losses. One reason for such inaccuracy is that revenues or costs

associated with a period of business activity could be realized outside of the period. Another

reason is that revenues or costs attributable to a different period could be realized during the

period in question.”); DONALD E. KIESO ET AL., INTERMEDIATE ACCOUNTING 46 (10th ed. 2000)

(matching principle “dictates that efforts (expenses) be matched with accomplishment (revenues)

whenever it is reasonable and practicable to do so”). The simple reason is that failure to do so

will produce a result untethered from the business’s actual performance.

        The approach of Class Counsel (and the Settlement Program) misapplies the text of the

Settlement Agreement by considering only “revenues and expenses in the periods in which those

revenues and expenses were recorded at the time.” Jan. 15 Policy Decision (Ex. C) at 2. To

begin with, Class Counsel misuse the terms “revenue” and “expenses.” Instead, what they are

referring to are cash inflows (receipts) and outflows (expenditures), ignoring the meaning of the

terms “revenue” and “expenses.” See Weil Decl. (Ex. 12) at 4:160-5:162 (“Class counsel’s

interpretation of the BEL Framework confuses revenues with receipts and expenses with

expenditures.”).5


5
  Class Counsel’s experts are incorrect to contend otherwise. See Finch Supp. Decl. (Ex. 4) ¶ 26 (“Allen Carroll
states, ‘This type of matching is absolutely inappropriate because it would require the recognition of revenue which
could be highly uncertain and contingent on a future event.’ This is incorrect. The revenues and expenses for
farming claims are already known, thus, there are no projections. He confuses the BEL lost profits analysis, which
looks at historical data relating to farming activity in 2010 and benchmark years, with accounting in P&Ls, which is
done on a current or prospective basis. The months in which expenses were incurred and revenues earned for
farming activity that took place in 2007-2010 are known now, and have been known for some time. There is,
therefore, no uncertainty or contingency.”).



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             Moreover, to read the Settlement Agreement as Class Counsel do is to rewrite it. To

“correspond” means to “be parallel,” WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY OF

THE    ENGLISH LANGUAGE UNABRIDGED 511 (Philip Babcock Gove, ed., 1976), “be the

counterpart,” id., or “to answer to, agree with, suit.” 2 THE OXFORD ENGLISH DICTIONARY 1017

(1933). Interpreted in light of the word’s common meaning, as well as the economic purpose

that undergirds the Settlement Agreement, the variable expenses that “correspond” to revenue

are those variable expenses that were incurred to generate that revenue.

             The problem is acute in the construction industry, among others. “While accurate year-

end percentage-of-completion calculations are critical for reporting to third parties as well as the

Internal Revenue Service, monthly P&L schedules which accurately match revenues and

expenses are not commonly maintained by contractors in the ordinary course of business.”

Hall Decl. (Ex. 5) ¶ 17 (emphasis added). “While it is common for construction companies, in

the normal course of their operations, to maintain their monthly P&L statements without

matching monthly revenues with the corresponding variable expenses incurred to generate those

revenues, it is not appropriate to measure lost profits damages from P&L statements that do

not match revenues and expenses.” Hall Supp. Decl. (Ex. 6) ¶ 4 (emphasis added). Farming

suffers from similar mismatching of revenues and expenses in monthly financial statements. See

Finch Supp. Decl. (Ex. 4) ¶ 7 (“Looking at artificial snapshots of cash received and expenditures

paid in monthly farming financial statements instead of cross-checking against the annual

financial statements and going back to match revenues to when they were earned and to

corresponding variable expenses ignores the economic reality of the way in which farms operate

. . . .”).




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       3.    Profit Is Properly Calculated Only When Revenues Are Matched With

Corresponding Variable Expenses. “Accountants typically use the word profit to mean ‘the

excess of all revenues and gains for a period over all expenses and losses of the period,’ where

they ‘measure revenue as the expected net present value of the net asserts the firm will receive.’”

Weil Decl. (Ex. 12) at 2:85-89; Dietrich Decl. (Ex. 2) ¶ 12. But if revenues are not properly

matched to their corresponding variable expenses, the result is a gimmick or accounting

gibberish — not “profit.”

       C.      Awards Must Be Based On A Comparison Of Variable Profit In The
               Compensation Period To Variable Profit In “Comparable” Months Of The
               Benchmark Period — Not Necessarily The “Same” Months.

       Finally, the Settlement Agreement requires that the Claims Administrator compare the

claimant’s Variable Profit during a claimant-selected three-month or more Compensation Period

with the “comparable” months of the Benchmark Period. Yet Class Counsel would substitute the

word “same” where a different word, “comparable,” appears in the Agreement.

       “Comparable” and “same” are not synonyms. Rather, the “comparable” months are the

months that “hav[e] enough like characteristics or qualities to make comparison appropriate,”

that are “suitable for matching, coordinating, or contrasting.”         WEBSTER’S THIRD NEW

INTERNATIONAL DICTIONARY OF THE ENGLISH LANGUAGE UNABRIDGED 461 (Philip Babcock

Gove, ed., 1976) (emphasis added). They are the months that are “worthy of comparison; proper

or fit to be compared.” 2 THE OXFORD ENGLISH DICTIONARY 708 (1933) (emphasis added).

Reading the word “comparable” to mean “same” effectively deletes the word “comparable” from

the Agreement, contrary to the principle that all words in a contract must be given effect. See,

e.g., Texaco Exploration & Prod., Inc. v. AmClyde Eng’rd Prods. Co., 448 F.3d 760, 778 (5th

Cir. 2006); Hawthorne Land Co. v. Equilon Pipeline Co., 309 F.3d 888, 892-93 (5th Cir. 2002).

       To be sure, in many cases the “same” months are the “comparable” months; a beachside


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restaurant might predictably see increased business and thus incur increased costs in June, July,

and August — year after year after year. But for some other businesses, the “same” months may

not be the “comparable” months, especially when the issue is a divergence in timing in the

receipt of revenues and the paying out of expenses. For example, in the farming industry, the

months in which the farmer buys seeds, incurs expenses, and harvests and later sells his crop

may vary as a result of market or weather conditions. See Finch Decl. (Ex. 3) ¶ 7 (“Depending

on the weather and choice of crop in any given year, a farmer may plant in April, May, or June

and then harvest in any month or months from August through November. Farmers also have

the ability to store the harvest and not sell or receive payment for months after harvest.”).

        In such cases, the “comparable” months are those in which the farmer engaged in

comparable activity. It is neither “appropriate,” “suitable,” “worthy,” “proper,” nor “fit” to

compare August 2009 to August 2010 if the farmer sold his entire 2009 harvest in August and

his entire 2010 harvest in September.6 Such an approach — which would suggest that the farmer

lost his entire crop as a result of the Deepwater Horizon spill and compensate him accordingly

— invites chaos, inequity, and illogical and downright absurd results. See Finch Decl. (Ex. 3)

¶ 31; see also Weil Decl. (Ex. 12) at 6:217-221.               There are repeated examples where the

Settlement Program’s failure to use data from comparable months has generated fictional losses

where in reality the Claimant had no loss whatsoever. See infra Section II.A.

                                                     *     *    *

        In sum, Class Counsel’s interpretation of the Settlement Agreement — adopted by the

Settlement Program — results in rewriting or excising the following seven provisions of the


6
 Cf. Dietrich Decl. (Ex. 2) ¶ 31 (“For example, Mardi Gras occurred on February 16, 2010, but on March 8, 2011.
The comparable months for a business that derives earnings from Mardi Gras-related activities would end in
February 2010 but in March 2011.”).



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Settlement Agreement, among others:

              (1) Section 1.3.1.2, which requires that a Class Member have a “[l]oss of income,
       earnings or profits suffered . . . as a result of the DEEPWATER HORIZON INCIDENT”;

               (2) Section 38.57, which defines “Economic Damage” as “loss of profits, income
       and/or earnings arising in the Gulf Coast Areas or Specified Gulf Waters allegedly
       arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the
       Deepwater Horizon Incident”;

            (3) Section 38.61, which requires that the “Economic Damage Compensation
       Amount” be calculated “pursuant to the terms of the Agreement and the Economic
       Damage Claim Frameworks”;

             (4) Exhibits 4B and 4C, each of which requires that economic performance be
       measured by considering “revenue” earned over a selected “period” of “months”;

              (5) Exhibit 4C at 2, which requires that “corresponding variable expenses” be
       subtracted from monthly revenue for the Compensation Period and the comparable
       Benchmark Period;

              (6) Exhibit 4C at 2, which requires a true “Variable Profit” calculation to be made
       — a step that is ignored by the Claims Administrator’s approach; and

              (7) Exhibit 4C at 1 and 3, which requires that Variable Profit in the Compensation
       Period be compared to the “comparable months” during the Benchmark Period.

II.    Class Counsel’s Interpretation Frustrates And Defeats The Settlement Agreement’s
       Purpose And Produces Absurd Results, As The Claims Administrator Himself Has
       Recognized.

       That Class Counsel’s interpretation of the Settlement Agreement is contrary to the

Settlement Agreement’s plain text is reason enough to reject it.         Nevertheless, the Claims

Administrator adopted it notwithstanding his recognition that it yields absurd results. Proper

interpretation of the BEL Framework, like economic analysis itself, demands a focus on “actual

earnings,” since the function of the tort system is to make those who are impacted whole. See

WILLIAM M. LANDES & RICHARD A. POSNER, THE ECONOMIC STRUCTURE OF TORT LAW 185-86

(1987). Settlements negotiated in the tort law’s shadow are no different — particularly given the

express terms of the Settlement Agreement, which defines the Economic Damage for which

compensation is available as “loss of profits, income and/or earnings . . . allegedly arising out of,


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due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon

Incident.” Settlement Agreement ¶ 38.57; see also Polinsky Decl. (Ex. 9) ¶¶ 13-14 (“[I]f the

parties settle, they would tend to settle for an amount that is not much different from the amount

that the plaintiff would obtain in court. . . . The amount that courts generally award for losses in

tort is that which would make the plaintiff whole, namely, that would restore the plaintiff to the

position he would have enjoyed if the tort had not occurred.”).

          A.     Class Counsel’s Interpretation Violates The Settlement Agreement’s Purpose
                 And Produces Absurd Results.

          A contract should be interpreted in accordance with its purpose, rather than in a manner

that produces absurd results. See, e.g., In re Liljeberg Enters., Inc., 304 F.3d 410, 443 (5th Cir.

2002); Coury v. Moss, 529 F.3d 579, 585 (5th Cir. 2008). Here, the Court has recognized that

the BEL Framework was meant to use “recognized and accepted methodologies” to assess losses

stemming from the spill in a manner that comports with economic reality. See Rec. Doc. 8138 at

10. The BEL Framework is silent on the use of any particular set of accounting conventions, and

that is because the Framework is an economic damage methodology not designed to be trumped

or overtaken by a cash-accounting approach. Instead, the Framework is designed as a practicable

“damages model” for which the data kept in a claimant business’s books embody an input, but

where the ledger entries for particular months must not be allowed to cut short or circumvent the

analysis necessary to apply the BEL Framework in a sensible way, as spelled out in the

Agreement. See Polinsky Decl. (Ex. 9) ¶¶ 12-16; Weil Decl. (Ex. 12) at 3:97-98 (“The BEL

Framework focuses on revenues and expenses, not receipts and expenditures . . . .”) (emphasis

added).

          Under Class’s Counsel’s interpretation, the Settlement Agreement will produce

meaningless numbers bearing no relationship to actual economic losses in a significant number



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of cases. See, e.g., Hall Decl. (Ex. 5) ¶ 22 (Class Counsel’s approach yields a “fictitious

reduction in variable profit and thus an inflated award”); Finch Decl. (Ex. 3) ¶ 14 (this “fallacy

results in farming claimants being compensated for payment timing differences as opposed to

actual economic damages”); Oustalniol Decl. (Ex. 7) ¶ 32 (“economically irrational and . . .

overcompensates such claimants”); Sider Decl. (Ex. 11) ¶ 12 (“impact of errors in CSSP’s

measurement of variable profit on BEL offers is large and systematic, and often results in

windfalls to many BEL claimants unrelated to actual harm due to the spill”); Polinsky Decl. (Ex.

9) ¶ 8 (“potentially great and can result in gross windfalls”); Weil Decl. (Ex. 12) at 6:220-221

(“leads to nonsense”); Dietrich Decl. (Ex. 2) ¶ 13 (“‘A [financial] report showing cash receipts

and cash outlays of an enterprise for a short [time] period cannot . . . indicate whether or to what

extent an enterprise is successful or unsuccessful.’” (quoting ELEMENTS OF FIN. STATEMENTS,

Fin. Accounting Standards Bd. Concepts Statement No. 6, ¶ 144 (Fin. Accounting Standards Bd.

1985))). A related absurdity is that under Class Counsel’s interpretation, claimants whose

variable profits are identical over a period of time will receive wildly different awards,

depending upon whether their monthly performance is fairly consistent or varies greatly from

month to month. See Sider Decl. (Ex. 11) ¶¶ 25-28; Weil Decl. (Ex. 12) at 7:254-259.

       Although these economically irrational results afflict BEL claims across a wide variety of

industries, these results inure primarily to claimants in three industries — construction, farming,

and professional services, particularly in Zones B, C, and D — that are unlikely to have suffered

major losses after the spill, fall into the less-impacted zones, and have never been a focus of this

litigation or the ensuing settlement.     Sider Decl. (Ex. 11) ¶¶ 5-20.        None of the class

representatives named in the Bon Secour complaint came from these industries; nor did

claimants from such industries (despite the monitions deadline incentivizing all claimants to file




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their claims in MDL 2179 or lose them against Transocean under the Limitation Act) file very

many short-form joinders. Claims from such industries only accelerated after it became clear

that the Claims Administrator would process BEL claims in a manner that does not comport with

the Settlement Agreement. See id. ¶ 18.

       Appendix A to this Motion includes a representative, yet non-exhaustive listing of the

many illogical, absurd awards that have been produced by the Settlement Program’s erroneous

implementation of the Settlement Agreement. Among the claimants benefiting from absurd

awards described in Appendix A are the following:

       •      A Zone B rice mill located                          which the Settlement Program
              awarded more than $9.3 million in pre-RTP lost profit ($21 million post-RTP)
              despite the fact that its 2010 revenue exceeded its Benchmark Period 2008-2009
              revenue.

       •      A Zone D general contractor                            , which the Settlement
              Program awarded more than $3.8 million in pre-RTP lost profit ($4.8 million
              post-RTP), notwithstanding that Claimant’s annual 2010 variable profit exceeded
              its annual variable profit in the Benchmark years.

       •      A Zone D rice farm                                                      which
              the Settlement Program awarded more than $2.4 million in pre-RTP lost profit
              (more than $3 million post-RTP). This pre-RTP award assumes that, in the
              absence of the Spill, Claimant’s 2010 variable profit would have increased by
              214% over actual variable profit in the Benchmark Period.

       •      A Zone D steel manufacturer in
                             , which the Settlement Program awarded Claimant $1.96 million in
              pre-RTP lost profit ($2.46 million post-RTP) notwithstanding that Claimant’s
              2010 variable profit was more than $1 million higher than its 2009 variable profit.
              This pre-RTP award assumes that, in the absence of the Spill, Claimant’s 2010
              variable profit would have increased by 59% over actual variable profit in the
              Benchmark Period.

       •      A Zone D catfish farm in
                    , which the Settlement Program awarded Claimant $772,000 in pre-RTP lost
              profit ($968,000 post-RTP), notwithstanding that Claimant's 2010 annual variable
              profit exceeded its 2009 (Benchmark Period) annual variable profit by more than
              5000%.




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        B.       The Claims Administrator And Settlement Program Accountants Have
                 Recognized The Need For Accurate Data To Process BEL Claims Properly
                 And Thus Avoid Absurdity.

        The Claims Administrator has himself recognized the problems created by Class

Counsel’s interpretation of the Settlement Agreement.                  First, in October 2012, the Claims

Administrator properly ruled — rejecting Class Counsel’s request for another, equally absurd

interpretation — that financial records kept on an accrual basis may not be converted to a cash

basis for purposes of filing a claim, because such a conversion “could result in a loss or a

greater loss [that is] not related to the Spill but instead is a result only of the timing of cash

received.” Oct. 8, 2012 Policy Statement (Ex. D) at 2 (emphasis added). The logic of this

determination — that financial or accounting data that do not accurately match revenues and

expenses can produce spurious losses — applies whether the records are converted to create

such a defect (as the Claims Administrator has rightly prohibited) or are originally prepared

with that defect (as the Claims Administrator has erroneously permitted in the decision under

review). Yet Class Counsel cannot explain how the Claims Administrator’s October 8 Policy

Statement is logically consistent with his January 15 Policy Statement.                       Cf. Frozen Food

Express, Inc. v. United States, 535 F.2d 877, 880 (5th Cir. 1976) (“But law does not permit an

agency to grant to one person the right to do that which it denies to another similarly situated.

There may not be a rule for Monday, and another for Tuesday, a rule for general application, but

denied outright in a specific case.”); Colo. Interstate Gas Co. v. FERC, 850 F.2d 769, 774 (D.C.

Cir. 1988) (“[T]he Commission’s dissimilar treatment of evidently identical cases . . . seems the

quintessence of arbitrariness and caprice.”).7

7
  Accord Westar Energy, Inc. v. FERC, 473 F.3d 1239, 1241 (D.C. Cir. 2007) (“A fundamental norm of
administrative procedure requires an agency to treat like cases alike. If the agency makes an exception in one case,
then it must either make an exception in a similar case or point to a relevant distinction between the two cases.”).
The Court Supervised Settlement Program (“CSSP”) operates here in a fashion analogous to an agency.



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       Second, in the decision now under review, the Claims Administrator again recognized

that applying the Settlement Agreement’s methodology to financial data that do not record

revenues when earned and match them to corresponding expenses incurred to generate those

revenues will produce distorted and unreasonable results:

       This is an issue that has particular relevance to claimants who are attorneys,
       construction companies or farming enterprises. The Claims Administrator
       recognizes that the straightforward application of the Settlement Agreement’s
       compensation formula to claimants in these industries can result in awards that
       appear disproportionate when compared to award amounts for claimants in other
       industries.

Cover E-Mail to Jan. 15 Policy Decision (Ex. B). Of course, it is an improper application of the

Settlement Agreement’s compensation formula that is leading to these absurd results; the Claims

Administrator’s “application” of the BEL Compensation Framework is neither “straightforward”

nor textually permitted.   Indeed, the Settlement Program’s interpretation deletes from and

completely rewrites the BEL Compensation Framework terms of the Settlement Agreement, as

discussed above.

       Third, in that same decision, the Claims Administrator specifically recognized both the

importance of using accurate accounting data and his authority under the Settlement Agreement

to correct errors in claimant-submitted financial statements to ensure that only accurate data is

used in Settlement Program claim processing:

       The Claims Administrator does, however, reserve the right to adjust the financial
       statements in certain circumstances, including but not limited to, inconsistent
       basis of accounting between benchmark and compensation periods, errors in
       previously recorded transactions and flawed or inconsistent treatment of
       accounting estimates.

Jan. 15 Policy Decision at 2. Yet, the Administrator has declined to use that rightfully asserted

authority here and, as a result, the Settlement Program is processing BEL claims using claimant

data that contain known errors, inaccuracies, and irregularities. The workpapers of Settlement



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Program accountants indicate that they have indentified but not corrected similar errors prior to

inputting the data into the BEL framework. See Alexander Decl. (Ex. 1) ¶¶ 19, 30; Sider Decl.

(Ex. 11) ¶ 41. The result is awards of hundreds of millions of dollars for nonexistent “losses”

reflecting nothing more than readily avoidable accounting errors.

       C.      The Failure To Apply The BEL Framework Using Accurate Data Produces
               Absurd Results That Impose Upon BP Significant, Unbargained-For,
               Unagreed-To, And Unwarranted Settlement Liability.

       BP has continued to pursue this issue because it is a matter of fundamental fairness,

unbargained-for and unagreed-to consequences, having enormous financial implications. As the

accounting experts explain, the problem of misdefining revenue and failing to match revenue to

corresponding variable expenses over comparable periods is widespread among certain

categories of claims, including those from the farming, construction, and professional services

industries.   See Finch Decl. (Ex. 3) ¶ 30 (error infected “almost every farming claim I

reviewed”); Oustalniol Decl. (Ex. 7) ¶ 39 (“all” professional services claims he reviewed “will

not reflect the actual profit earned or provide a reasonable economic measure of the business”);

Oustalniol Supp. Decl. (Ex. 8) ¶ 20; Hall Supp. Decl. (Ex. 6) ¶ 8 (“[It] is not an isolated or rare

problem. To the contrary, I found such mismatching and resulting artificial ‘losses’ and windfall

awards in most of the 28 construction firm BEL claims I reviewed.”); Sider Decl. (Ex. 11) ¶ 33

(error affects between 82% and 98% of the largest Business Economic Loss awards). Indeed,

offers by the Settlement Program in the agriculture, construction, and professional services

industries — which are particularly affected by the settlement implementation problem described

herein — total nearly $415 million, and together represent 40% of the dollar value of BEL offers

to date. See Sider Decl. (Ex. 11) ¶ 13. Moreover, the available claims data indicate that the

problem also affects a significant number of claims in other industries. Id. ¶ 5.

       Put simply, if the Settlement Agreement were actually written as Class Counsel interpret


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it, BP would never have agreed to it. The economic rationality of settlements is presumed;

agreements to pay economic windfalls are not. See Polinsky Decl. (Ex. 9) ¶ 15 (“I would not

expect the BEL Framework to provide compensation that would result in substantial windfalls to

claimants — it would have been economically irrational for BP to have consented to such an

outcome.”); see also Steven Shavell, Suit, Settlement, and Trial: A Theoretical Analysis Under

Alternative Methods for the Allocation of Legal Costs, 11 J. LEGAL STUDIES 55, 56-57 (1982)

(“If the plaintiff does decide to bring suit . . . he and the defendant will reach a settlement if and

only if there exists some settlement amount that both he and the defendant would prefer to going

to trial.”).

         D.     The Absurdity Resulting From Class Counsel’s Settlement Agreement
                Interpretation Uniquely Prejudices BP.

         Class Counsel have suggested that the absurdity identified by BP is capable of producing

errors in both directions, rather than errors that overwhelmingly and materially prejudice BP

alone. Even if as a matter of law errors overcompensating certain class members could be

“offset” by errors undercompensating other class members (a proposition objectors would surely

question and that would likely surprise the Fifth Circuit), the fact is that all or the

overwhelmingly majority of errors prejudice only BP. Several points are important to note:

         First, Class Counsel has not identified a single example of a claimant being

disadvantaged by mismatched revenues and expenses. And with good reason — the Settlement

Program’s interpretation can only hurt BP because it creates losses where none exist. See Hall

Supp. Decl. (Ex. 6) ¶ 8 (“I did not see any indication that a single construction claim offer by the

Settlement Program understated actual losses.”); Finch Supp. Decl. (Ex. 4) ¶ 9 (“[A]nomalies in

farm claim determinations by the Settlement Program decidedly do not go ‘in either direction’

evenly and will be significantly biased in favor of claimants.”).



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        Second, the claimants alone have great flexibility in deciding their Compensation Periods

and Benchmark Periods, and thus can avoid mismatched revenues and expenses that

disadvantage them. See Finch Supp. Decl. (Ex. 4) ¶ 9 (“Since claimants then have the option for

Step 1 of the BEL compensation framework to choose from 63 combinations of compensation

months and benchmark periods in order to maximize their award, by definition the

overwhelming direction for anomalies to go is in favor of the claimant.”);8 Sider Decl. (Ex. 11)

¶ 23 (“The distortions will (almost) always work to increase compensation for a simple reason –

any period in which measurement error decreases estimates of lost variable profit will not be

selected in determining compensation, while periods in which measurement error increases

estimates of lost variable profit become the prime candidates for determining compensation.”);

Weil Decl. (Ex. 12) at 8:299-303 (“any sensible claimant” will select a Benchmark Period and

Compensation Period to exploit the Class Counsel position).

        E.      The Absurdity Also Creates A Risk To Class Certification.

        Unfortunately, the absurdity identified here does not merely harm BP; it puts the

Settlement itself at risk. As the Court is aware, numerous objectors challenged the settlement by

asserting that it unfairly treated certain class members more favorably than others. BP and Class

Counsel contended, and the Court found, that the settlement was fair because the benefits

available to class members were accurately calibrated to the strength of their claims. As the

Court ruled, “[i]t is perfectly fair and reasonable, and indeed common and accepted, for

settlement benefits to turn on the strength of class members’ claims.” Rec. Doc. 8138 at 87.




8
  “The BEL framework requires claimants to choose ‘comparable months’. While CSSP does not appear to consider
this requirement, its application may affect the number of options available to claimants under the Settlement
Agreement in determining Step 1 compensation.” Sider Decl. (Ex. 11) ¶ 2 n.5.



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       If the interpretation advanced by Class Counsel were to continue to be applied by the

Settlement Program, however, the propriety of class certification and the fairness of the

Settlement would be placed in jeopardy. As the Court has previously found: “‘A class action

settlement is not objectionable merely because it draws lines, as long as the distinctions made

reflect an informed effort to allocate settlement benefits across class members in reasonable

proportion to their damages and the strength of their claims.” Rec. Doc. 8138 at 87 (emphasis

added) (quoting Professor Miller).      But if similarly situated members of the class receive

materially different compensation solely as a result of the method by which they maintain their

financial records, then a powerful disparity in treatment saps the rationale for the class and raises

serious issues about the Settlement’s fairness. See In re Prudential Ins. Co. Am. Sales Practices

Litig. Agent Actions, 148 F.3d 283, 323 n.73 (3d Cir. 1998) (recognizing that among factors to be

considered in approving class settlement is “[w]hether persons with similar claims will receive

similar treatment”); Gates v. Rohm & Haas Co., No. 06-1743, 2008 WL 4078456, at *3 (E.D.

Pa. Aug. 22, 2008) (same). This disparity in treatment goes to the core of the class — all

businesses with economic loss — and cannot be dismissed as a peripheral issue. For example,

two businesses (which in the real world had the same magnitude of diminution in profits from

the spill) submit claims: one has used an accrual method of presenting its financials, and the

other uses a cash basis and has done nothing to align its revenue and expenses. The first

company gets an award from the Administrator that fairly approximates its spill-related losses,

while the second entity receives an award several times larger that is in no way reflective of its

actual injury. That type of irrational result is precisely what fair class treatment is intended to

avoid. See Sider Decl. (Ex. 11) ¶ 24; Dietrich Decl. (Ex. 2) ¶ 21.




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III.   BP’s Implementation Approach Is Necessary, Readily Accomplished, And
       Consistent With Standard Accounting Principles and Practice.

       To avoid the absurd results that stem from Class Counsel’s misinterpretation of the

Settlement Agreement, BP has suggested a three-step process. First, the CSSP accountants

should review all claims for certain inaccuracies that can affect the correct calculation of variable

profit, including year-end adjustments, year-end bad debt expenses, year-end bonus expenses,

and other irregularities. See Sider Decl. (Ex. 11) ¶¶ 40-41.

       Second, BP has described three triggers that the Claims Administrator could implement

to identify those cases in which claimants have failed to engage in the matching required by the

Settlement Agreement. The Claims Administrator could screen claims for further review where:

               (1) The claimant’s monthly P&L statements report a “revenue spike,” that
       is, revenue in one month (or a small number of months) that exceeds a specified
       percentage of the claimant’s annual total revenue for 2010 and/or any of the
       Benchmark Period years;

               (2) The claimant’s monthly P&L statements report a negative variable
       profit in any month in 2010 and/or the Benchmark Period year(s); or

              (3) The claimant’s reported data reflect a wide variation in the monthly
       variable profit margin (expressed as a percentage of revenue) within a given year,
       such that the difference between the variable profit margin for the months with
       the highest and lowest variable profit margins exceeds a specified range.

See Sider Decl. (Ex. 11) ¶¶ 42-43.

       Third, where failure to record monthly revenue and corresponding variable expenses

properly is found, the Settlement Program should correct the data to reflect the matching

required by the Settlement Agreement to calculate variable profit. Claimants may have provided

sufficient information to correct the mismatch, such as specifying the period over which a large

inventory purchase was used. See Sider Decl. (Ex. 11) ¶ 44. When claimants do not provide

sufficient information to provide a specific basis for matching revenue and corresponding costs,

standard matching methodologies can be applied. See id. ¶ 45. The two basic approaches are


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estimating monthly revenue based on a claimant’s annual revenue and the pattern of its monthly

expenses, or estimating monthly expenses based on a claimant’s annual expenses and the pattern

of its monthly revenue. See id. Neither of those approaches amounts to an arbitrary “spreading”

of revenue or expense, as Class Counsel asserts. We understand that the Settlement Program

accountants concur that these approaches are reasonable and can be readily implemented. And

the Claims Administrator has himself confirmed that BP’s proposal is reasonable. See Cover E-

Mail to Jan. 15 Policy Decision (Ex. B).

       BP is not wedded to the specific triggers described here; there may be other equally

effective, appropriate, and tested methods that the Settlement Program could use to identify cases

in which revenue has not been properly calculated, corresponding variable expenses have not

been properly matched, or comparable periods have not been compared. The salient points are

simply that (1) the ultimate goal BP seeks to achieve — properly determining variable profit —

comports with the principles of accounting and economics (and is demanded by the Settlement

Agreement itself), as is extensively explained in the declaration of Hal Sider (Ex. 11); (2)

accountants regularly engage in the type of analysis that BP proposes; and (3) Class Counsel

have offered no alternatives of their own, so the Claims Administrator and thus the Court are not

faced with a choice between two practicable implementation solutions but only a choice between

BP’s tested and workable solution on the one hand and Class Counsel’s unadorned recalcitrance

on the other.

       A.       Accounting Principles Mandate The Correct Matching Of Revenue And
                Expenses.

       As the accounting and financial experts have made clear, correct calculation of profit

“requires that revenue is attributed to periods in which it is earned.” Finch Decl. (Ex. 3) ¶ 26

(emphasis added); accord id. ¶ 29 (“[T]he accounting literature recognizes that evaluation of a



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firm’s financial performance requires that revenue be aligned with the costs incurred in

generating that revenue.”) (emphasis added); Oustalniol Decl. (Ex. 7) ¶ 18 (“It is broadly

recognized by the accounting literature and accounting professionals that one of the pillars of

reliable financial reporting is the ‘matching’ concept . . . .”) (emphasis added); Rose Decl. (Ex.

10) ¶ 4 (“The matching of revenues and expenses is fundamental to the analysis of financial

statements for profitability because profitability cannot be determined on a cash basis.”)

(emphasis added); Weil Decl. (Ex. 12) 5:185-187 (“[W]e have not properly measured income as

revenues less expenses unless the expenses measure the assets used to generate the revenues.”).

See also supra Section I.B. (explaining why the text of the Settlement Agreement also requires

matching).

       Class Counsel are simply incorrect to suggest otherwise. Rather, it is the interpretation

urged by Class Counsel — which yields absurd results that do not reflect economic reality —

that does not comport with economics and accounting principles. See Finch Supp. Decl. (Ex. 4)

¶¶ 17-26 (explaining in detail why the opinions offered by Class Counsel’s declarants are

incorrect and inconsistent with accounting and economic principles); Oustalniol Supp. Decl. (Ex.

8) ¶¶ 5-17 (same); Hall Decl. (Ex. 5) ¶ 14 (“[I]t is widely understood and accepted that such

matching between revenue and expenses is required in order to understand a business’s financial

performance for a given accounting period.”).

       B.      BP’s Implementation Approach Is Easily Administered And Consistent With
               Accounting Principles; It Does Not Invite Subjective Analysis.

       Implementation Would Not Be Burdensome. Contrary to Class Counsel’s argument, the

implementation solutions BP has outlined for the purpose of complying with the Settlement

Agreement and to determine when basic accounting principles have not been followed are easily

implementable by the Settlement Program’s staff of professional accountants.          Indeed, the



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accounting experts agree that BP’s implementation solution involves “reasonable and objective

methods.” Hall Decl. (Ex. 5) ¶ 29; see also id. ¶ 4(4) (“simple and workable”); Finch Decl. (Ex.

3) ¶¶ 5(e), 33; Oustalniol Decl. (Ex. 7) ¶ 6; Oustalniol Supp. Decl. (Ex. 8) ¶¶ 26-33; Hall Supp.

Decl. (Ex. 6) ¶¶ 16-17; Finch Supp. Decl. (Ex. 4) ¶ 16; Sider Decl. (Ex. 11) ¶ 82; Weil Decl. (Ex.

12) at 9:341-361 (explaining that the allocation of revenues and expenses is a core function of

accountants); Dietrich Decl. (Ex. 2) ¶ 35 (“Major public accounting firms possess substantial

expertise in many areas of accounting; both PricewaterhouseCoopers and Postlethwaite &

Netterville have many partners and staff members who are well-versed in the accounting

procedures required to implement the BEL Framework’s calculations.”); Alexander Decl. (Ex. 1)

¶ 32. Moreover, as noted above, the Claims Administrator has previously concluded that the

metrics and implementation approach proposed by BP are reasonable and implementable.

       Claims Administrator Has Conceded Faithful Implementation of the Settlement

Sometimes Requires Data Adjustment.         Nor would the implementation approach that BP

proposes be unusual. Indeed, the Settlement Program itself has consistently recognized that, to

meet its duty to “faithfully implement and administer the Settlement, according to its terms and

procedures,” Settlement Agreement ¶ 4.3.1, it is (or may be) necessary to adjust the data

provided by a claimant to produce accurate monthly revenue and corresponding variable expense

data to input into the BEL calculation. Cf. Dietrich Decl. (Ex. 2) ¶ 28 (BP approach “avoids the

unfaithful and inaccurate representations of Variable Profit that result from Class Counsel’s

interpretation.”). For example:

           •   For claimants with 13-month financial reporting periods, the Program’s
               accountants have “the ability to convert the 13-period revenue and expense
               statements into a twelve month year by allocating each period’s revenue and
               expense items into their respective months.” Aug. 2, 2012 Memo From L. Greer
               to P. Juneau (Ex. E) at 8.




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           •   In his January 15, 2013 Policy Announcement under review, the Claims
               Administrator specifically reserved to himself the authority to adjust data
               provided by claimants where that data do not accurately reflect monthly revenues
               earned and corresponding expenses incurred:

                       The Claims Administrator does, however, reserve the right to
                       adjust the financial statements in certain circumstances, including
                       but not limited to, inconsistent basis of accounting between
                       benchmark and compensation periods, errors in previously
                       recorded transactions and flawed or inconsistent treatment of
                       accounting estimates.

               Jan. 15 Policy Decision (Ex. C) at 2.

       When the Claims Administrator acts in this fashion to operationalize provisions in the

Settlement Agreement, he is acting akin to an administrative agency. “Because it is to the

[relevant agency] that Congress entrusted the task of applying the Act . . . in the light of the

infinite combinations of events which might be charged as violative of its terms, that body, if it is

to accomplish the task which Congress set for it, necessarily must have authority to formulate

rules to fill the interstices of the broad statutory provisions.” Beth Israel Hosp. v. NLRB, 437

U.S. 483, 500-501 (1978).

       Class Counsel charge that any attempt to carry out the Settlement Agreement’s strong

focus on correct application of the economic concepts of “Variable Profit,” “revenues,” and

“expenses” is adding new material not present in the contract’s text.              This is wrong;

operationalizing those terms only enforces and carries out that contract. As in any case where an

agency decision is tested for its fidelity to a statute, there are interstitial decisions an agency

makes that carry out the letter and spirit of the law that it is applying and there are decisions the

agency makes that are legally flawed and ultra vires. The January 15, 2013 policy decision falls

into the latter category — it is flatly incorrect. The triggers and approaches BP suggests to

ensure that revenue and expense matching occurs promotes the text and purpose of the

Agreement.


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       Indeed, accountants regularly engage in the type of analysis that BP has identified as a

necessary (and required) step to obtaining the corrected data needed to produce economically

valid results, and the Claims Administrator has repeatedly recognized his authority to apply

standard accounting principles even though the Settlement Agreement does not recite in haec

verba every principle of accounting. There is no “subjectivity” in ensuring that accurate data is

used for the Settlement Agreement’s objective economic tests. It is Class Counsel’s approach,

not BP’s, that ignores the accounting discipline’s (and, indeed, economic science’s) recognition

of the need to match revenues and expenses when doing an analysis of variable profit. See Finch

Supp. Decl. (Ex. 4) ¶¶ 17-26. There simply is no reason to accept a reading of the Settlement

Agreement that produces enormous windfalls when eliminating such windfalls is not a complex,

costly, or overly time-consuming task. This is particularly true given that BP’s interpretation of

variable-profit analysis in the Settlement Agreement is compelled by the Agreement’s plain

terms and does not deprive any claimant who has injuries caused by the spill of any

compensation.

IV.    Class Counsel’s Other Arguments Lack Merit And Do Not Withstand Scrutiny.

       Class Counsel have suggested other reasons to reject a proper interpretation and

implementation of the Settlement’s BEL Compensation Framework. None has merit.

       A.       BP’s Position Is Consistent With The Text Of The Settlement Agreement.

       Class Counsel have argued that BP proposes to rewrite the Settlement Agreement to

achieve its goals. But as explained above, that is simply not so; BP only seeks to have the

carefully negotiated express terms of that Agreement implemented, as well as the Agreement’s

fundamental purpose of channeling benefits to those actually harmed by the Deepwater Horizon

spill. It is Class Counsel, not BP, that violate the terms of the Settlement Agreement and put the




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future of the Settlement at risk — all in furtherance of their dubious goal of extracting payouts

from BP for businesses that had nonexistent losses, let alone losses caused by the spill.

       Nonetheless, Class Counsel has suggested that BP’s position that revenue must be

matched with “corresponding” variable expenses is inconsistent with Exhibit 4C, which, they

argue, instructs the Claims Administrator to “[s]um the monthly revenue over the period” and

then “[s]ubtract the corresponding variable expenses from revenue over the same time period” to

determine variable profit. Settlement Agreement Ex. 4C at 2. According to Class Counsel, the

phrase “over the same time period” means that the Claims Administrator may not match

revenues with corresponding variable expenses incurred in a different period. But in reality, the

phrase “over the same time period” is meant to modify revenue, not “corresponding variable

expenses.” Properly understood, the phrase “over the same time period” makes clear that the

same time period is to be used for revenue in both steps of calculating variable profit — not that

the Claims Administrator may not match that revenue to corresponding variable expenses

incurred in other time periods. Only BP’s position is consistent with the “rule of the last

antecedent,” which provides that “a limiting clause or phrase . . . should ordinarily be read as

modifying only the noun or phrase that it immediately follows.” Barnhart v. Thomas, 540 U.S.

20, 26 (2003). Only BP’s position is consistent with the underlying economic purpose of the

Settlement Agreement; and only BP’s position is consistent with the obligation to determine

Variable Profit.

       Nor is BP seeking to undermine the Settlement Agreement’s carefully negotiated

causation tests. BP is not suggesting that the Claims Administrator should subjectively analyze

whether, in his view, claimants who satisfy the Settlement Agreement’s causation tests

“actually” suffered losses after the spill. Rather, BP’s position is simply that the Settlement




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Agreement’s entirely objective causation (and compensation) tests cannot work if they are

applied to incorrect and thus useless data. The core problem here is that the Settlement Program

is using incorrect and/or erroneous data, and thus as has been observed before: “[G]arbage in,

garbage out.” E*Trade Fin. Corp. v. Deutsche Bank AG, 374 F. App’x. 119, 121 (2d Cir. 2010)

(approvingly noting district court finding that an accounting audit was inadequate and overstated

a balance sheet based in part on erroneous inputs).9

        B.       Class Counsel Contradict Themselves In Claiming That The Existence Of
                 Allegedly Undefined Terms In The Agreement Somehow Support The
                 Position That Matching Of Revenues And Expenses Is Not Required.

        Class Counsel have implausibly suggested that because several basic economic terms

were not specifically defined by the Settlement Agreement, the Claims Administrator was

entitled to define them as he saw fit. Yet putting aside the fact that each of the controlling terms

in the Settlement Agreement here has a well-established meaning, as discussed above, Class

Counsel themselves have previously asserted that the Claims Administrator is not free to define

terms as he pleases simply because they were not specifically defined by the Settlement

Agreement. See Memorandum from Class Counsel to C. Reitano, Feb. 7, 2013 (Ex. F) at 4 n.4

(“Class Counsel also objects to the contention . . . that in the absence of a term being defined,

authority vests in the Claims Administrator to determine the meaning of the term.”) (emphasis

added). Just so. The proper method of interpreting the terms in dispute here is by application of

their well-understood and uncontroversial meanings in the economics and accounting

9
  Nor can Class Counsel argue that BP’s implementation rewrites the Settlement Agreement, and in particular
Exhibit 4A (“Documentation Requirements for Business Economic Loss Claims”), because in some cases BP’s
implementation may require financial data from years prior to and after the Benchmark Years, 2010 and 2011, that
are expressly referenced in Exhibit 4. Footnote 1 of Exhibit 4A expressly provides that the requirements are typical
but not exhaustive: “Other provisions of the settlement agreement might require additional documentation for
specific business types.” Moreover, paragraph 4 expressly provides that the Claims Administrator may “request
source documents for profit and loss statements.” Since the annual and monthly financial statements must start with
and contain beginning balances derived from the prior period, such “source documents” necessarily include original
transaction documents from that prior period. See Alexander Decl. (Ex. 1) ¶ 26.



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professions. If Class Counsel wanted to alter those default meanings, they could have sought to

do so in negotiations. Class Counsel did not do so and the Claims Administrator cannot proceed

(as his January 15 decision does) as if Class Counsel had secured provisions in the Settlement

Agreement to give basic economic and accounting terms non-standard, idiosyncratic, and

illogical meanings.

       C.      BP Remains Free To Refer To The Central Purpose Of The Settlement
               Agreement To Compensate Only For Spill-Related Losses When It Offers
               Interpretations Of The Settlement Agreement’s Compensation Criteria.

       Class Counsel have argued that BP’s references to language in the Settlement Agreement

that “losses” be “sustained” “as a result” of the Deepwater Horizon oil spill somehow embody an

attempt to relitigate issues surrounding the Settlement Program’s October 10, 2012 policy

statement. Not so, as that policy statement provides only that the “Settlement Agreement does

not contemplate that the Claims Administrator will undertake additional analysis of causation

issues beyond the criteria specifically set out in the Settlement Agreement.” Policy Decision

Issued by the Court on Causation, available at http://tinyurl.com/Oct10Policy (Oct. 10, 2012).

       BP’s position here — that the key Settlement Agreement terms of “Variable Profit,”

“revenue,” “expenses,” “corresponding,” and “comparable,” etc. control BEL claims processing

— denotes nothing more or less than following the compensation “criteria specifically set out in

the Settlement Agreement,” which is the approach specifically mandated by the October 10

policy statement. BP references the fact that the Settlement Agreement was intended only to

compensate for losses occurring as a result of the spill merely to explain the purpose of those

“criteria.” Consulting the purpose of a contract is a basic and traditional tool in its interpretation,

and nothing in the October 10 policy statement purports to make that tool of contractual

interpretation unavailable. See, e.g., Ergon-W. Va., Inc. v. Dynegy Mktg. & Trade, --- F.3d ---,

2013 WL 237567, at *4 (5th Cir. Jan. 22, 2013).


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       D.      BP’s Position Is Consistent With The Class Notice.

       Contrary to Class Counsel’s argument, BP’s position is also consistent with the class

notice, which certainly did not say that the Settlement Program would mechanically accept hand-

picked claimant financial records without applying any scrutiny based on economic and

accounting analysis, or that the Settlement Agreement incorporated and would inflexibly apply

cash-based accounting. What the class notice did say was that “[c]laims for economic damage

can be made by Individuals and Entities in certain industries or geographic zones that lost profits

or earnings as a result of the Deepwater Horizon Incident.” See Class Notice 12 (emphasis

added), available at http://tinyurl.com/DetailedNotice. By contending that claimants should be

able to receive payment under the Settlement Agreement for nonexistent “losses,” it is Class

Counsel — not BP — who would contradict the notice.

       E.      BP Timely Raised Its Objections To The Non-Matching Approach.

       Notwithstanding Class Counsel’s suggestions to the contrary, in no way has BP been

slow in responding to the revenue and matching issues. As the Settlement Program began

issuing BEL awards during the fall of 2012, BP closely monitored such awards. When it became

clear that there was a significant problem, BP began appealing problematic awards. Perhaps the

best evidence that BP has fully engaged on these issues is that fact that it has filed more than 100

appeals on the revenue and matching issues alone (including appeals stayed by this Court on

February 6, 2013, and that remain pending).          BP also sought to engage with the Claims

Administrator and the accounting vendors on this subject.

       Contrary to Class Counsel’s position, BP’s participation in a quality assurance testing of

the Settlement Program’s model for processing BEL claims did not “endorse” the Program’s

failure to assess accurately when revenue was earned or to match properly revenue and

corresponding variable expenses. The assurance testing did not raise or involve the matching


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issue. See Sider Decl. (Ex. 11) ¶¶ 89-92. Rather, Class Counsel’s knowledge of this issue

inherently predates BP’s because they represent claimants who formulated claims by gathering

supporting documentation and launched them into the system.10

         Finally, Class Counsel’s argument is irrelevant. Setting aside the fact that BP promptly

acted once it figured out what Class Counsel and the Settlement Program were doing, the

Agreement expressly overrides the ordinary operation of waiver doctrine. “The waiver by any

Party of any breach of this Agreement by another Party shall not be deemed or construed as a

waiver of any other breach, whether prior, subsequent, or contemporaneous, to this Agreement.”

Settlement Agreement ¶ 35.1. In other words, BP could have, but, of course, did not, let

hundreds of claims payouts failing to match revenues and expenses go by unappealed. But that

would not have precluded its ability to take later appeals or to raise the Settlement Program’s

misinterpretation to this Court under the plain terms of Section 35.1.

         F.       Class Counsel’s Attempt To Argue That Conducting This Proceeding In
                  Camera Violates The Settlement Agreement Is Incorrect And Contradictory.

         Although Class Counsel did not argue in January 2013 when this dispute arose that an in

camera process is improper as a means to resolve it at this stage in the District Court

proceedings, they have made that suggestion in response to the Court’s February 6, 2013 stay

order. Class Counsel relies on Section 18.1 of the Settlement Agreement, which provides in

relevant part that, “Any disputes or controversies arising out of or related to the interpretation,

enforcement or implementation of the Agreement and the Release shall be made by motion to the

Court.” Id. The process the Court has employed to date and at this stage of the proceedings has

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  Waivers demand prior knowledge among numerous other requirements. See, e.g., Int’l Indus. Park, Inc. v. United
States, 100 Fed. Cl. 638, 655 (2011) (“Waiver requires (1) the existence at the time of the waiver a right, privilege,
advantage or benefit that may be waived; (2) the actual or constructive knowledge thereof; and (3) an intention to
relinquish such right, privilege, advantage or benefit.”) (internal quotation marks omitted). The burden of proof on
waiver issues in the contractual setting also rests on the breaching party, i.e., Class Counsel. See, e.g., Westfed
Holdings, Inc. v. United States, 407 F.3d 1352, 1360 (Fed. Cir. 2005).



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not violated this provision. Motions can be made orally, and the January 24, 2013 hearing the

Court held on this matter clearly was convened in order to adjudicate such a motion.

Additionally, there is nothing that precludes the “motion” referred to in Section 18.1 of the

Settlement Agreement from being filed in camera. Motions in camera are a well-recognized

mode of procedure and have been used in the class settlement context before. See Ramirez v.

Decoster, 142 F. Supp. 2d 104, 108 & n.4., 109 n.6, 110 (D. Me. 2001).

        Class Counsel’s positions are also rife with internal contradictions. For instance, the

process that resolved the non-profits disagreement last December was also conducted in camera

— at Class Counsel’s suggestion that resolution of any Panel disputes by the parties should

proceed in such a manner. In addition, the January 24 hearing on this BEL issue was in camera,

as well as the in-Chambers status from two weeks ago.

        Finally, Class Counsel jettison another provision of the Settlement. See Settlement

Agreement, Section 4.3.4 (“Issues or disagreements that cannot be unanimously resolved by the

Claims Administration Panel will be referred to the Court for resolution.”). This provision does

not handcuff the Court in its choice of a mode of procedure to resolve such disputes, see, e.g.,

Fed. R. Civ. P. 16(a)(5), given the current stage of the proceedings thus far and the requests as

framed and made to the Court.

V.      Requested Relief

        Accordingly, BP respectfully requests that the Court issue an in camera decision

directing that:

        1.        The Claims Administrator shall immediately rescind his January 15, 2013 Policy

Statement regarding BEL Claims.

        2.        The Claims Administrator shall acknowledge that under the BEL Framework,

(a) “revenue” is recognized when it is earned by delivering goods or rendering services, and not


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simply when cash is received or a claimant records revenue on its financial statements;

(b) “corresponding variable expenses” are those variable expenses incurred to generate revenue

over a period, and not simply expenses incurred or expenditures made during the period when

that revenue is earned; (c) and “comparable months” are the months that are economically

appropriate for comparison, and not simply the same months.

         3.      The Claims Administrator and Settlement Program shall (a) identify and correct

inaccuracies in monthly profit and loss entries submitted by BEL claimants; (b) apply triggers to

identify potential matching problems with BEL claims; (c) apply matching techniques for

problems identified by the trigger analysis; and (d) apply the BEL Framework using corrected

data and estimates of matched revenue and variable expenses.

         4.      In implementing the requirements of paragraph 3, the Claims Administrator and

Settlement Program shall use the procedures and methodologies set forth in the Declaration of

Hal Sider (Ex. 11) at Section VI, ¶¶ 37-47 with examples illustrating the procedures and

methodologies in ¶¶ 48-80 (Section VI is also attached as Appendix B), unless the Parties and

the Claims Administrator unanimously agree to different or additional procedures.11

         5.      The Claims Administrator shall develop and present for the Court’s review by no

later than March 11, 2013, a Policy Statement incorporating the interpretations, procedures, and

requirements of paragraphs 2 through 4.


                                               CONCLUSION

         BP is committed to paying all legitimate claims for economic loss and property damage


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  The procedures, methodologies, and examples in Section VI of Hal Sider’s Declaration were presented to Class
Counsel, the Claims Administrator, and the Settlement Program’s senior accountants during the February 14, 2013
mediation and are an elaboration of BP’s approach described to Class Counsel and the Claims Administrator in early
January 2013.



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that arose as a result of the Deepwater Horizon spill, and it continues to believe that — properly

implemented and interpreted — the Settlement Agreement is a fair and reasonable resolution for

both BP and the Class. But BP remains steadfast in its legal view that the Settlement Program’s

January 15 Policy Decision is a serious distortion of the Settlement Agreement’s clear text and

expressly stated rationale — and is also contrary to basic rules and principles of economics and

accounting. Having tried and failed to mediate this issue with Class Counsel, BP has no choice

but to again seek the Court’s intervention and to request the proper implementation of the

Settlement Agreement’s BEL Compensation Framework. BP accordingly requests that the Court

direct the Settlement Program to adopt the BEL implementation steps BP has outlined. Only

such an instruction to the Settlement Program will achieve the Settlement’s goal of compensating

businesses actually harmed by the Deepwater Horizon spill.




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Dated: February 18, 2013      Respectfully submitted,


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 •   Claim         Claimant is a Zone C new car dealer                             The
     Settlement Program awarded Claimant $47,763 in pre-RTP lost profit ($59,704 post-
     RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its 2007-2009
     (Benchmark Period) variable profit by 9%.

 •   Claim           Claimant is a Zone C gas station                         The Settlement
     Program awarded Claimant $46,941 in pre-RTP lost profit ($141,824 post-RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its 2007-2009 (Benchmark
     Period) average variable profit.

 •   Claim            Claimant is a Zone C limousine service                        The
     Settlement Program awarded Claimant $45,635 in pre-RTP lost profit ($57,043 post-
     RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its 2008-2009
     (Benchmark Period) average variable profit. Claimant was unprofitable in 2008-2009,
     losing $7,000 in variable profit, and became profitable in 2010, earning $6,000 in
     variable profit.

 •   Claim         Claimant is a Zone C restaurant                          The Settlement
     Program awarded Claimant $40,000 in pre-RTP lost profit ($119,000 post-RTP). This
     pre-RTP award assumes that, in the absence of the Spill, Claimant could have expected
     its 2010 variable profit to increase by 1,368% over actual variable profit in the
     Benchmark Period.

 •   Claim         Claimant is a Zone C commercial landlord                       The
     Settlement Program awarded Claimant $38,040 in pre-RTP lost profit ($48,530 post-
     RTP), notwithstanding that Claimant’s 2010 variable profit exceeded its 2009
     (Benchmark Period) variable profit.

 •   Claim           Claimant is a Zone B bookstore                       The Settlement
     Program awarded Claimant $35,693 in pre-RTP lost profit ($59,287 post-RTP),
     notwithstanding that Claimant’s 2010 variable profit exceeded its 2009 (Benchmark
     Period) variable profit.

 •   Claim           Claimant is a Zone B gas station                   The Settlement
     Program awarded Claimant $33,0000 ($100,000 post-RTP), notwithstanding that
     Claimant’s 2010 variable profit exceeded its 2007-2009 (Benchmark Period) average
     variable profit by 10%.

 •   Claim           Claimant is a Zone C trucking company                               The
     Settlement Program awarded Claimant $32,000 in pre-RTP lost profit ($41,000 post-
     RTP). This pre-RTP award assumes that, in the absence of the Spill, Claimant could
     have expected its 2010 variable profit to increase by 113% over actual variable profit in
     the Benchmark Period.



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        APPENDIX B: EXCERPTS OF DECLARATION OF HAL SIDER




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VI.     APPLICATION OF A STANDARDIZED APPROACH TO IDENTIFYING AND REMEDYING DATA
        INACCURACIES AND MATCHING PROBLEMS IN BEL CLAIMS.

        37.       This section presents an approach for identifying data in financial statements that

reflect inaccuracies and that fail to match monthly revenues with corresponding variable expenses.

Correcting these problems is essential to obtaining reliable calculations of revenue, corresponding

variable expenses, and variable profit and, thus, to properly implement the BEL framework. I describe

BP’s standardized approach to identify and correct these problems, with the remedy tailored to the

specific pattern of data inaccuracies and matching problems observed for the claimant. This section also

implements BP’s approach for five actual BEL claimants with financial statements. Each of these

examples present patterns of data irregularities that are observed across a variety of claims.

        A. Description of BP’s General Approach to Proper Implementation of the BEL Framework

        38.       The section outlines a four-step approach to assure that the BEL framework is applied to

data that properly reflect monthly revenue and corresponding variable expenses. This four-step

approach incorporates and further elaborates on the approach described in (i) BP’s Response To Class

Counsel’s December 16, 2012 Request for Policy Determination on January 9, 2013 and (ii) BP’s Further

Submission in Response to Class Counsel’s December 16, 2012 Request for Policy Determination on

January 11, 2013. I also described in detail BP’s approach outlined here (¶¶38-46) on February 14,

2013, in the presence of the court-appointed mediator Dan Balhoff, to the Claims Administrator and

lead accountants for the Settlement Program and to Class Counsel and accountants working with Class

Counsel in a mediation session. At that session, I presented four of the five examples described below

(¶¶47-79).

              •   Step 1 -- Identify and Correct Inaccuracies in Monthly P&L Entries: This step, which

                  would be applied to all BEL claims, involves a line-item review of the monthly profit and

                  loss statements submitted by claimants for potential line item inaccuracies and the

                  implementation of appropriate corrections.

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              •   Step 2 -- Apply Triggers to Identify Potential Matching Problems: Claims in which

                  matching problems are likely to exist are identified through the trigger/thresholds

                  analysis detailed in Section V above. These include:

                      o    Months with revenue “spikes” as reported by claimants;

                      o    Months with negative variable profit margin as reported by claimants; and

                      o    Wide month-to-month swings in variable profit margin as reported by

                           claimants.

              •   Step 3 -- Apply Matching Strategies for Problems Identified In Trigger Analysis: This

                  step involves a review of the source of potential mismatches between revenue and

                  corresponding variable expenses identified in the trigger analysis. Any matching

                  problems identified through this review are then addressed though (i) discussions with

                  claimants and/or (ii) application of standard matching methodologies, such as those

                  outlined in Tab 1 of BP’s Response To Class Counsel’s December 16, 2012 Request for

                  Policy Determination, and described further in the context of the specific examples

                  below.

              •   Step 4 -- Apply BEL framework using corrected data and estimates of matched revenue

                  and variable expenses: The final step in the analysis applies the BEL framework for

                  causation and compensation as outlined in the Settlement Agreement in Sections 4B

                  and 4C based on financial information that more accurately matches revenue and

                  corresponding expenses, pursuant to Steps 1 and 3 above.

        39.       Each of these four steps is described in more detail below.

        Step 1: Identify and Correct Inaccuracies in Monthly P&L Entries

        40.       A necessary first step in evaluating a claimant’s monthly variable profit, which is the

foundation of the BEL framework, is identification of inaccuracies in line-item entries in the claimant’s

                                                      24

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P&L. This review is to be applied to all claims. While examples of such inaccuracies are identified below,

CSSP accountants that process claims may be aware of additional examples:

               •    “True up” or year-end adjustments: Financial statements submitted by many BEL

                    claimants include monthly entries that appear to reflect cumulative adjustments that

                    reflect “true ups” to correct for errors in prior months or other year-end or irregularly

                    reported line item entries, and thus may not simply reflect activity in the month for

                    which the data are reported. 7 For example, including cumulative “true up” corrections

                    in a single month yields erroneous measures of month-specific variable profit for two

                    reasons. First the “true up” reports more than one month’s activity. Second, the “true

                    up” leaves in place the errors in prior months that necessitate the year-end adjustment.

                    Examples of “true up” or year-end adjustments reported in CSSP BEL workbooks include,

                    but are not limited to:

                        o    “Bad debt” expenses: Many firms will recognize bad debt expenses at the end

                             of the calendar or fiscal year, or at other irregular intervals, resulting in large

                             and episodic reported expenses that in fact relate to bad debts incurred over

                             longer periods of time.

                        o    Year-end bonus or payroll expenses: Many firms pay bonuses at the end of the

                             calendar or fiscal year, resulting in large and irregular payroll expenses. Again,

                             these expenses reflect compensation to employees for work performed over

                             longer periods of time.




7
    Such year-end adjustments may occur at the end of fiscal years that do not coincide with calendar years.


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                      o   Inventory valuation adjustments: Like bad debt and bonus expenses, inventory

                          valuation adjustments are often taken at year end or at other irregular intervals

                          but relate to gains or expenses incurred over longer periods of time.

                      o   Other line item entries that are populated only at year end, such as profit-

                          sharing contributions and accrual adjustments.

              •   Negative or zero variable expenses: Such entries generally reflect corrections to entries

                  from prior months. Thus, such entries typically imply that data for multiple months may

                  be misreported, not just information for the month with the negative entry.

              •   Negative revenues: Such entries may reflect corrections to revenue reported in prior

                  months.

        41.       My on-going review of claim files indicates that CSSP accountants often identify these

types of inaccuracies and communicate with claimants in an attempt to understand them. 8 Frequently,

these explanations could be directly incorporated into the claim evaluation process but this does not

appear to be done. In cases in which the source of inaccuracies cannot be identified based on

communication with the claimant, it may be possible to apply corrections that more accurately reflect

when the expenses reported by claimants were incurred and when revenue was generated. For

example, for bonus payments, CSSP accountants can allocate reported year-end expenses to individual

months based on the monthly share of non-bonus payroll expense. Similarly, bad debt expenses

reported by claimants might be allocated based on measures of monthly revenue.

        Step 2: Apply Triggers to Identify Potential Matching Problems

        42.       Step 2 in implementation of a standardized approach to identifying and correcting data

inaccuracies and matching problems in data submitted by claimants is the application of the trigger

8
 Many claim files include email correspondence that discusses such issues. In addition, the “Global Notes” section
of CSSP claim-specific portals often includes notes from discussions between CSSP accountants and claimants.


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analysis discussed in Section V above. The trigger analysis identifies circumstances in which revenue and

variable expenses as reported in claimant-submitted financial statements may not be properly aligned.

The trigger analysis is applied to all claims and to all months in 2010 and the Benchmark Period. As

discussed above, potential matching concerns are identified by the following triggers:

             •   Months with revenue “spikes” as reported by claimants: The presence of reported

                 revenue spikes suggests that revenue may not be recorded when it was earned, perhaps

                 instead reflecting when payment is received. Additionally, where the revenue of a

                 business is concentrated in one (or a few) months on an inconsistent annual basis, it is

                 likely that the revenue reported for the month was earned over a longer period of time.

                 The threshold would be set in a manner that ensures that normal seasonal variations in

                 revenue would not trigger a supplemental review. 9

             •   Months with negative variable profit margin as reported by claimants: Negative

                 variable profits reported in claimant financial data is an indicator that revenues and

                 expenses may be mismatched because firms typically would not operate when variable

                 profit is negative. Negative variable profit occurs when revenue fails to cover variable

                 costs. The existence of a negative variable profit in a month suggests that reported

                 revenue is not properly matched to corresponding variable costs because a business

                 would not be expected to undertake activities that fail to cover their variable costs. 10

             •   Wide month-to-month swings in variable profit margin as reported by claimants:

                 Large month-to-month swings in measures of variable profit reported by claimants also

9
  My analysis in Section V identifies a claimant as meeting the “revenue spike” trigger in any month in which
revenue exceeds 17% of the annual total. This level reflects two times a month’s pro-rata share of annual revenue,
which is 8.3%.
10
   The “negative margin” trigger applied in Section V identifies claimants that have negative margin in any month
which accounts for 2% or more of annual revenue. This threshold is applied to avoid review of negative margin
when it would have only an incidental effect on measures of financial performance.


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                   suggest that revenue is not reported when it is earned and/or are not properly matched

                   with the expenses incurred in generating that revenue. Such measurement errors can

                   result either from irregular monthly patterns in revenue or expenditures, or both. 11

         43.       After identifying such potential problems, CSSP accountants should attempt to obtain

additional information from claimants that would enable them to determine whether revenue is

properly matched with corresponding variable costs or instead reflect changes in the claimant’s financial

performance. Where a matching problem is found to exist, revenue and corresponding variable

expenses would be matched based on procedures outlined in Step 3.

         Step 3: Apply Objective Strategies to Correct Matching Problems Identified In Trigger Analysis

         44.       Step 3 of the analysis involves matching revenue and corresponding variable expenses

for claims where problems are identified in Step 2. There are two general approaches to matching

revenue and corresponding expenses: (i) use of information provided by claimants; and (ii) application

of standardized matching methodologies to financial data submitted by claimants that result in

improved matching of revenue and corresponding variable expenses.

Matching based on information provided by claimants:

         45.       Certain matching problems identified through the trigger analysis can be remedied

based on information provided by claimants. For example:

               •   Claimants that submit data characterized by spikes in reported expenses, perhaps due

                   to expenditures for bulk purchases of inventory, may be able to identify the time period

                   over which the inventory is used. This would allow CSSP accountants to more accurately



11
  The “margin variability” trigger applied in Section V identifies claimants for which at least one month’s share of
annual revenue deviates from the same month’s share of annual variable expenses by more than 7.5 percentage
points. This threshold is selected to focus reviews on periods in which there is a material deviation between
revenue and expense shares for a given month.


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                     determine variable expenses by assigning expenditures to the months in which

                     inventory was used.

                 •   Claims for which claimants submit data that identifies revenue spikes, such as those

                     associated with receipt of periodic payments on long term projects, may be remedied by

                     claimant’s provision of information on the term of the project that generated the large

                     cash receipt and/or expenses incurred each month for the project. This information, in

                     turn, can be used to estimate monthly revenue by reference to the months in which

                     expenses were incurred to generate revenue, rather than incorrectly equating cash

                     received in a month with revenue.

Application of Standardized Matching Methodologies:

           46.       When claimants do not provide sufficient information to provide a specific basis for

matching revenue and corresponding variable expenses, standard matching methodologies should be

applied. Two basic approaches can be implemented, depending on the circumstances that give rise to

the matching problem. In the first approach, matching is achieved by estimating monthly revenue

earned based on a claimant’s annual revenue and the pattern of its monthly expenses; in the second

approach, matching is achieved by estimating monthly expenses incurred based on a claimant’s annual

expenses and the pattern of its monthly revenue.

                 •   For claimants, such as those in the construction industry, for which claimants may

                     reliably report monthly expenses incurred but are less likely to reliably report monthly

                     revenue earned, matching is achieved as follows 12: First, calculate on an annual basis

                     the ratio of revenue to variable expenses. Second, estimate matched monthly revenue

                     by multiplying (i) reported monthly expenses and (ii) the annual ratio of revenue to


12
     Declaration of David Hall, January 23, 2013.


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                   expenses. These calculations would be made after incorporating any corrections

                   identified in Step 1 and after any matching based on information provided by

                   claimants. 13

               •   For claimants, such as those in service, distribution and certain manufacturing

                   industries, which reliably record their revenue when it is earned but do not reliably

                   report when expenses are incurred (due perhaps to large inventory purchases),

                   matching is achieved as follows: First, calculate on an annual basis the ratio of variable

                   expenses to revenue. Second, estimate matched monthly expenses by multiplying

                   reported monthly revenue by the annual ratio of variable expenses to revenue. These

                   calculations would be made after incorporating any corrections identified in Step 1 and

                   after any matching based on information provided by claimants.

Step 4 -- Apply BEL framework using corrected and matched revenue and variable expenses

         47.       Step 4 of the analysis involves application of the BEL framework using the corrected

data on revenue and corresponding variable expenses. The corrected data are used both for

determining causation based on changes in revenue as described in Exhibit 4B of the Settlement

Agreement and to determine compensation based on changes in variable profit as described in Exhibit

4C of the Settlement Agreement. Nothing in the matching approach changes the BEL causation or

compensation frameworks specified in the Settlement Agreement. Instead, the matching approach

helps ensure that the BEL framework is applied to more reliable financial information.




13
  In the construction industry, job-specific progress reports can be applied on a job-specific basis to match
revenue and corresponding variable expenses. In the absence of job-specific data, the matching approach can be
applied based on aggregate information which may yield less reliable results.



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        B. Application of General Approach to Sample BEL Claims

        48.       As mentioned above, I have applied this approach in evaluating five sample BEL claims:

              •                    a rice farm

              •                               a road paving contractor in

              •                         , a catfish farm in

              •                  a law firm

              •                         , a furniture distributor

        49.       This section provides a brief and high level overview of each claim and the approach

applied to identify and remedy matching issues they present. A more detailed description of the steps

involved in the evaluation of these claims and the implementation of the remedies to account for the

matching problems is presented in Exhibit C. The empirical application of the matching methodology

and calculation of Step 1 compensation for each claim is then presented in Exhibit D.

        50.       These examples demonstrate how BP’s approach to BEL implementation should be

applied to specific claims. However, in order to demonstrate BP’s approach to BEL implementation, it is

necessary to make certain assumptions about the sources of data inaccuracies that would be available

to CSSP accountants, who can contact claimants directly. My analysis focuses on Step 1 of the BEL

compensation calculation only, which reflects the change in variable profit between the benchmark and

compensation periods, because matching issues do not directly affect Step 2 of the BEL compensation

calculation (which reflects the loss of potential growth over the benchmark period) or the Risk Transfer

Premium.




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         51.                        is a rice farm                  which is in Zone D. CSSP’s BEL calculations,

which do not attempt to correct for data inaccuracies or irregularities, indicate that              variable profit

fell by roughly $90,000 in 2010 relative to the benchmark year of 2009.              was offered BEL Step 1

compensation of $2.4 million, which is nearly 90% of its benchmark revenue of $2.7 million.

         Step 1: Identify Data Inaccuracies

         52.      No P&L line item inaccuracies were identified for

         Step 2: Apply Triggers

         53.            financial data exhibit large revenue spikes and many months of negative variable

profit, which indicate the presence of matching problems.

         Step 3: Matching Revenue and Corresponding Variable Expenses

         54.      Matching problems are remedied by first identifying the revenue generated by the

claimant’s 2009 and 2010 farming activities. Given the nature of rice farming, revenue generated by the

2009’s crop can be realized in late 2009 or early 2010. That is, revenue was earned from 2009 farming

activities may generate payments in early 2010. Identification of when revenue was earned by                   is

accomplished by attempting to associate the “crop year” revenue (which includes sales of the 2009 crop

in early 2010) with the expenses incurred in growing the crop (which typically are incurred in 2009 for

the crop grown in 2009). For example,             2009 crop year revenues would reflect all revenue received

from July 2009 through June 2010. 15




14
   A more detailed description of the steps involved in the evaluation of                   and the calculation of
Step 1 compensation are presented in Exhibits C.1 and D.1. Tab 1 of BP’s Response To Class Counsel’s December
16, 2012 Request for Policy Determination also provides an overview of the general approach to matching revenue
and corresponding variable costs for farming claims.
15
   This time period reflects the USDA crop year for rice. Declaration of Charles E. Finch, January 23, 2013, Appendix
D.


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         55.      For     matched revenue is determined on a monthly basis based on the claimant’s

effort over the production cycle, as reflected in its monthly variable expenses. More specifically, I

calculate the ratio of the claimant’s annual (crop year) revenue to the its annual (production year)

variable expenses, and then calculate monthly matched revenue by multiplying (i) monthly expenses

and (ii) the ratio of annual revenue and variable expenses as described above.

         Step 4: Apply BEL framework

         56.      Based on the matching approach, the Step 1 compensation formula is directly applied to

the adjusted financial data as described by the Settlement Agreement and the months that permit the

highest claimant compensation are identified. Step 1 compensation based on matched revenue and

variable expense information is $151,000, a reduction of 94% from the CSSP’s calculation.           would

pass the Zone D V-test based on the adjusted revenue data.
                               16



         57.                  is a paving contractor in              which is in Zone D. CSSP calculations,

which do not attempt to correct for data inaccuracies or irregularities, indicate that               variable

profit was $3.5 million higher in the May-December 2010 compared to the same months for benchmark

period 2007-09.               was offered BEL Step 1 compensation of $6.1 million.

         Step 1: Identify Data Inaccuracies

         58.      Review of               financial information as compiled by CSSP show that bad debt

expenses were recorded in December of each year and also exhibit certain negative expense entries.

For current purposes, no corrections for these inaccuracies were incorporated into the analysis.



16
  A more detailed description of the steps involved in the evaluation o         and the calculation of Step 1
compensation are presented in Exhibit C.2 and D.2. Tab 1 of BP’s Response To Class Counsel’s December 16, 2012
Request for Policy Determination also provides an overview of the general approach to matching revenue and
corresponding variable costs for construction claims.


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However, CSSP accountants may be able to obtain information to determine when, for example, bad

debt expenses were incurred (as opposed to when they were recorded for recordkeeping purposes).

         Step 2: Apply triggers

         59.                  financial data exhibit a revenue spike in June 2010 (18.5% of annual

revenue) accompanied with negative variable profits in other various months, which provide evidence of

matching problems in these periods.

         Step 3: Match Revenue and Corresponding Variable Expenses

         60.     Monthly matched revenue is estimated based on the claimant’s measured effort, as

reflected in monthly variable expenses reported in its financial statements. 17 I calculate the ratio of the

claimant’s annual revenue to the its annual variable expenses, and then estimate monthly matched

revenue by multiplying (i) monthly expenses and (ii) the ratio of annual revenue and variable expenses.

         Step 4: Apply BEL Framework

         61.     Based on this matching approach, the Step 1 compensation formula is directly applied to

the adjusted financial data as described by the Settlement Agreement and the months that permit the

highest claimant compensation are identified. For                 , the resulting Step 1 compensation is $2.42

million, a reduction of 61% from the CSSP’s calculation.                 would pass the Zone D V-test based

on adjusted revenue data.



         62.                               is a catfish (aquaculture) farm located in               , which is in

Zone D. CSSP calculations, which do not attempt to correct for data inaccuracies or irregularities,

indicate that                earned only $14,000 in variable profit in the benchmark year of 2009 but

17
             job-specific percent-of-completion reports are not available for this analysis, but could be readily
applied and would likely result in more accurate matching of revenue to the corresponding variable expenses.
18
   A more detailed description of the steps involved in the evaluation of             and the calculation of Step 1
compensation are presented in Exhibit C.3 and D.3.


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earned $720,000 in variable profit in 2010. CSSP’s calculations indicate that variable profit rose by $1.4

million in January-April 2010 relative to 2009, but fell by roughly $700,000 in May-December 2010

relative to the benchmark period. CSSP offered                   BEL Step 1 compensation of $676,000.

        Step 1: Identify Data Inaccuracies

        63.     Review of                    financial statements identified negative fuel expenses in one

month, which reflects a potential line-item inaccuracy and might be addressed by communications

between CSSP accountants and the claimant. Correction of this inaccuracy was not incorporated into

the analysis.

        Step 2: Apply Triggers

        64.                      financial data exhibit evidence of a mismatch between revenue and

corresponding expenses, including revenue spikes in November 2009 (32% of annual revenue) and April

2010 (28% of annual revenue). In addition, CSSP calculations indicate that the claimant had negative

variable profit of $907,000 in April 2009.

        Step 3: Match Revenue and Corresponding Variable Expenses

        65.     Review of                    financial statements available at the CSSP portal indicate that

the negative variable profit calculated by CSSP for April 2009 was due to a large bulk feed purchase

which, presumably, was used over an extended number of months. In this case, feed expense should be

recognized when feed was used in production, not the month in which the cash outlay was made to

purchase feed inventory. Communications between CSSP accountants and the claimant should be able

to establish the period over which the bulk feed purchase was consumed in production. For the purpose

of implementing this example, I assume that the April 2009 feed purchased is $900,000 and that it is

consumed over a 12 month period, and assign it on a pro-rata basis over each of these months.

        66.     Matching revenue to corresponding expenses for                     is addressed in a manner

analogous to that used in the                    and                  . Specifically, revenue and

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corresponding expenses are matched by (i) calculating the annual ratio of revenue to variable expenses;

and (ii) multiplying this ratio to corrected estimates of monthly variable expenses, which reflect the

months in which fish feed expenses were incurred, not the month in which fish feed was purchased.

         Step 4: Apply BEL Framework

         67.       Based on this matching approach, the Step 1 compensation formula is directly applied to

the adjusted financial data as described by the Settlement Agreement and the months that permit the

highest claimant compensation are identified. For the                        claim, the Step 1 compensation is

$6,000, a 99% reduction from the CSSP calculation. 19                        would pass the V-test based on

adjusted revenue data.



         68.                      is a law firm located in                     which is located in Zone D. CSSP

calculations, which do not attempt to correct for data inaccuracies or irregularities, indicate that

         earned variable profit of $3.4 million in 2008, which fell to $1.0 million in 2009 and rose to $1.5

million in 2010.                   was offered BEL Step 1 compensation of $1.3 million.

         Step 1: Identify Data Inaccuracies

         69.       Review of                    financial statements identified zero variable expenses in June

and July of 2010. Communication between CSSP accountants and the claimant should be able to

establish the source of this apparent inaccuracy. For the purpose of this BEL implementation example,

no attempt has been made to account for this apparent inaccuracy.


19
   As shown in the middle panel of Exhibit D.3, correction of the bulk fish feed purchase alone (without accounting
for the revenue spike) would result in Step 1 compensation of $397,000, a 40% reduction from the CSSP Step 1
offer.
20
   A more detailed description of the steps involved in the evaluation o                 and the calculation of Step 1
compensation are presented in Exhibit C.4 and D.4. Tab 1 of BP’s Response To Class Counsel’s December 16, 2012
Request for Policy Determination also provides an overview of the general approach to matching revenue and
corresponding variable costs for professional service claims.


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        Step 2: Apply Triggers

        70.                      financial data provide evidence of a mismatch between revenue and

corresponding expenses, including revenue spikes in December 2008 (71% of annual revenue), January

2010 (32% of annual revenue) and May-June 2011 (combined 48% of annual revenue). In addition, the

financial statements reveal smaller revenue spikes in December of 2009 (22% of annual revenue) and

2010 (18%).

        Step 3: Match Revenue and Corresponding Variable Expenses

        71.     Discussions between CSSP accountants and the claimants may be able to ascertain the

reasons for the revenue spikes, which are likely due in part to the receipt of payments associated with

the resolution of contingent fee matters. While the receipt of contingency fee payments may be

received in a lump sum, this payment reflects revenue earned over an extended period of time. As a

result, for the purposes of matching revenue and corresponding expenses, revenue is appropriately

considered to have been earned when the effort generating the revenue was expended, as opposed to

when payment was received. In addition, the smaller year-end revenue spikes are assumed to reflect

year-end collections efforts by law firms for work performed in prior months. For the purposes of

matching revenue and corresponding expenses, such year-end collections are appropriately considered

revenue earned in prior months.

        72.     If information on a law firm’s effort associated with contingent fee matters is available,

this information can be used to allocate the lump sum revenue generated from contingency fee cases to

the periods in which effort was expended to generate this revenue. Here, no such information is

available so for implementation purposes revenue is assigned on a pro-rata basis to the months during

which the matter was active, which is assumed to be in the 36 months prior to the December 2008

revenue spike and in the prior 12 months for the other revenue spikes assumed to be associated with

resolution of contingent fee cases. For implementation purposes I also assume that $200,000 in

                                                    37

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December revenue (assumed to result from increased collection of outstanding receivables at year end)

was earned in equal amounts in each month of the calendar year.

         73.     Finally, because revenue earned on contingent fee matters is appropriately considered

to be earned based on the effort expended, not when cash received, law firms with open (unresolved)

contingent matters are appropriately considered to have earned revenue that has not yet been realized.

Implementation of BP’s approach for matching revenue and expenses for law firms with open

contingent cases takes account of this by imputing revenue associated with these cases. This imputation

is based on (i) the number of contingent fee cases worked on by law firm claimant during the

benchmark period, 2010 and 2011 that remain open at the time of the claim review; and (ii) an estimate

of the average revenue generated per month of effort from the law firms on contingency fee cases.

         74.     The average monthly revenue generated on closed contingent fee cases is based on the

firm’s historical experience, based on (i) the number of closed contingency cases the claimant had in

prior years; (ii) the aggregate number of months the firm worked on these cases; and (iii) the aggregate

recoveries from these cases (including those that generated no revenue). An example of how the

average historical value of a law firm’s closed contingent cases is determined is shown on page 2 of

Exhibit D.4. Monthly revenue calculated in this way is imputed to each month in which the open

contingent fee cases were active during the benchmark and compensation period. 21 As a result, the

imputation would result in higher matched revenue in any month in the benchmark period, 2010 and

2011 for a claimant with open matters. The higher 2011 revenue would increase the claimant’s ability

to pass the V-test for causation; while the higher 2010 revenue would lower compensation available

under the BEL formula.

21
  As an alternative, standard valuation tools used in valuing contingent fee litigation in cases of partnership
dissolutions or divorces could be applied. In such cases, the imputation of revenue for open contingent fee cases
would account for the typical duration of such cases (e.g., a case valued at $200,000 and expected to have a four-
year period between initiation and resolution would result in imputed revenue of $50,000 per year).


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          Step 4: Apply BEL Framework

          75.     Application of the matched revenue and variable expenses in the BEL framework for

                , including matching of revenue generated in open and closed contingent fee cases, results

in corrected BEL Step 1 compensation of $220,000, an 83% reduction from the CSSP offer.

        would pass the Zone D V-test based on adjusted revenue data.



          76.                              is a school and office furniture distributor in           which is in

Zone D. CSSP calculations, which do not attempt to correct for data inaccuracies, indicate that

                         earned variable profit of $456,000 in 2008, $163,000 in 2009 and $174,000 in

2010.                           was offered BEL Step 1 compensation of $676,000.

          Step 1: Identify Data Inaccuracies

          77.     Review of                            financial statements identified negative revenue of

$708,000 in February 2008. This entry likely reflects a correction from misreported revenue in prior

months. CSSP accountants should be able to identify the nature of this inaccuracy and implement an

appropriate correction based on conversations with the claimant. However, for current purposes I

assume that revenue in the prior month (January 2008) was overstated by $1 million and re-assign this

sum to February 2008, thus maintaining the same two-month total revenue as reported in the P&L

statement.

          Step 2: Apply Triggers

          78.                              also exhibits evidence of matching problems, including revenue

spikes in July and August 2008 (which account for 22% and 19% of annual revenue respectively) as well

as negative variable profit in multiple months. This includes negative variable profit of -$407,000

22
  A more detailed description of the steps involved in the evaluation of                     and the calculation
of Step 1 compensation are presented in Exhibit C.5 and D.5.


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